                IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA
U.S. Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530

STATE OF NORTH CAROLINA
114 W. Edenton Street
Raleigh, NC 27603

STATE OF CALIFORNIA
300 South Spring Street, Suite 1702
Los Angeles, CA 90013

STATE OF COLORADO
1300 Broadway, 7th Floor
Denver, CO 80203

STATE OF CONNECTICUT
165 Capitol Avenue
Hartford, CT 06106                                 Case No. 1:24-cv-00710

STATE OF MINNESOTA
445 Minnesota Street
St. Paul, MN 55101

STATE OF OREGON
100 SW Market St
Portland, OR 97201

STATE OF TENNESSEE
P.O. Box 20207
Nashville, TN 37202

and




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STATE OF WASHINGTON
800 Fifth Avenue, Suite 2000
Seattle, WA 98104-3188,

                        Plaintiffs,

v.

REALPAGE, INC.
2201 Lakeside Blvd.
Richardson, TX 75082,

                      Defendant.




                                      COMPLAINT




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I.     INTRODUCTION

       1.     Renters are entitled to the benefits of vigorous competition among

landlords. In prosperous times, that competition should limit rent hikes; in harder times,

competition should bring down rent, making housing more affordable. RealPage has built

a business out of frustrating the natural forces of competition. In its own words, “a rising

tide raises all ships.” This is more than a marketing mantra. RealPage sells software to

landlords that collects nonpublic information from competing landlords and uses that

combined information to make pricing recommendations. In its own words, RealPage

“helps curb [landlords’] instincts to respond to down-market conditions by either

dramatically lowering price or by holding price when they are losing velocity and/or

occupancy. . . . Our tool [] ensures that [landlords] are driving every possible

opportunity to increase price even in the most downward trending or unexpected

conditions” (emphases added).

       2.     In fact, as RealPage’s Vice President of Revenue Management Advisory

Services described, “there is greater good in everybody succeeding versus essentially

trying to compete against one another in a way that actually keeps the entire industry

down” (emphasis added). As he put it, if enough landlords used RealPage’s software,

they would “likely move in unison versus against each other” (emphasis added). To

RealPage, the “greater good” is served by ensuring that otherwise competing landlords

rob Americans of the fruits of competition—lower rental prices, better leasing terms,




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more concessions. At the same time, the landlords enjoy the benefits of coordinated

pricing among competitors.

       3.     RealPage replaces competition with coordination. It substitutes unity for

rivalry. It subverts competition and the competitive process. It does so openly and

directly—and American renters are left paying the price.

                                           *****
       4.     Americans spend more money on housing than any other expense. On

average, American households allocate more than one-third of their monthly income to

housing. Some purchase a home, while others choose to, or must, rent. A family’s

selection of an apartment reflects a complex set of values and criteria including comfort,

safety, access to schools, convenience, and critically, affordability. To ensure they secure

the greatest value for their needs, renters rely on robust and fierce competition between

landlords.

       5.     RealPage distorts that competition. Across America, RealPage sells

landlords commercial revenue management software. RealPage develops, markets, and

sells this software to enable landlords to sidestep vigorous competition to win renters’

business. Landlords, who would otherwise be competing with each other, submit on a

daily basis their competitively sensitive information to RealPage. This nonpublic,

material, and granular rental data includes, among other information, a landlord’s rental

prices from executed leases, lease terms, and future occupancy. RealPage collects a broad

swath of such data from competing landlords, combines it, and feeds it to an algorithm.



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       6.     Based on this process and algorithm, RealPage provides daily, near real-

time pricing “recommendations” back to competing landlords. These recommendations

are based on the sensitive information of their rivals. But these are more than just

“recommendations.” Because, in its own words, a “rising tide raises all ships,” RealPage

monitors compliance by landlords to its recommendations. RealPage also reviews and

weighs in on landlords’ other policies, including trying to—and often succeeding in—

ending renter-friendly concessions (like a free month’s rent or waived fees) to attract or

retain renters. A significant number of landlords then effectively agree to outsource their

pricing function to RealPage with auto acceptance or other settings such that RealPage as

a middleman, and not the free market, determines the price that a renter will pay.

Competing landlords choose to share their information with RealPage to “eliminate the

guessing game” about what their competitors are doing and ultimately take instructions

from RealPage on how to make business decisions to “optimize”—or in reality,

maximize—rents.

       7.     Each landlord pays steep fees to license RealPage’s software. RealPage’s

stated goals and value proposition are not a secret. Its executives are blunt: They want

landlords to “avoid the race to the bottom in down markets.” Sometimes RealPage is

even more direct, acknowledging that its software is aimed at “driving every possible

opportunity to increase price” or observing that among landlords, “there is a greater good

in everybody succeeding versus essentially trying to compete against one another in a

way that actually keeps the entire industry down.”



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       8.     But that is not how the free market works. A free market requires that

landlords compete on the merits, not coordinate pricing. Landlords should win renters by

offering whatever combination of price and quality they think is most attractive. For

example, landlords could lower rents or provide other financial concessions, like free

months of rent, or with investments in amenities like gyms, grilling areas, or pools. Put

differently, the fear of losing a renter to a competitor should motivate rival landlords to

compete vigorously.

       9.     RealPage’s revenue management software ingests on a daily basis

nonpublic rental rates, future apartment availability, and changes in competitors’ rates

and occupancy. As competitor-landlords increase their rents, RealPage’s software nudges

other competing landlords to increase their rents as well. RealPage calls this

“maximiz[ing] opportunity[.]” As RealPage explained to one landlord, by using

competitors’ data, they can identify situations where “we may have a $50 increase instead

of a $10 increase for that day.” This is what RealPage encourages as “stretch and pull

pricing.”

       10.    RealPage allows landlords to manipulate, distort, and subvert market

forces. One landlord observed that RealPage’s software “can eliminate the guessing

game” for landlords’ pricing decisions. Discussing a different RealPage product, another

landlord said: “I always liked this product because your algorithm uses proprietary data

from other subscribers to suggest rents and term. That’s classic price fixing . . . .” A third

landlord explained, “Our very first goal we came out with immediately out of the gate is



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that we will not be the reason any particular sub-market takes a rate dive. So for us our

strategy was to hold steady and to keep an eye on the communities around us and our

competitors.”

       11.      RealPage’s scheme not only distorts competition to the detriment of renters,

but also allows it to reinforce its dominant position in the market for commercial revenue

management software. By its own account, RealPage controls at least 80 percent of that

market. Its dominant position is protected by substantial data advantages due to its

massive reservoir of ill-gotten competitively sensitive information from competing

landlords. No other revenue management company can match RealPage’s access to

landlords’ nonpublic, competitively sensitive rental data. This is why RealPage

acknowledges that it “does not have any true competitors, mainly because our data is

based on real lease transaction data.” RealPage’s conduct is predatory and exclusionary,

which has allowed it to distort the market opportunities for honest providers of revenue

management software.

       12.      At bottom, RealPage is an algorithmic intermediary that collects, combines,

and exploits landlords’ competitively sensitive information. And in so doing, it enriches

itself and compliant landlords at the expense of renters who pay inflated prices and

honest businesses that would otherwise compete.

       13.      The United States and the States of North Carolina, California, Colorado,

Connecticut, Minnesota, Oregon, Tennessee, and Washington, acting by and through

their respective Attorneys General, bring this action pursuant to Sections 1 and 2 of the



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Sherman Act to rid markets of (i) RealPage’s unlawful information-sharing scheme, and

(ii) its illegal monopoly in commercial revenue management software. In so doing,

Plaintiffs seek to restore the free market to deserving individuals, families, and honest

businesses.

II.     REALPAGE’S REVENUE MANAGEMENT SOFTWARE IS FUELED
        BY NONPUBLIC, COMPETITIVELY SENSITIVE INFORMATION
        SHARED BY LANDLORDS

        14.   RealPage dominates the market for commercial revenue management

software that landlords use to price apartments, controlling at least 80 percent of that

market, according to its own estimates. RealPage currently offers three revenue

management systems to landlords: YieldStar, AI Revenue Management (AIRM), and

Lease Rent Options (LRO). The company’s main legacy software, YieldStar, is the

product of three acquisitions and subsequent internal development. Its successor, AIRM,

uses much of the same codebase as YieldStar, but RealPage claims that AIRM’s refined

models and forecasting are more precise. RealPage acquired its other revenue

management software, LRO, in 2017. RealPage has made plans to sunset both YieldStar

and LRO by the end of 2024.

        15.   Competitively sensitive data collected from competing landlords is a

critical input to RealPage’s revenue management software. AIRM and YieldStar collect

this data, such as rental applications, executed new leases, renewal offers and

acceptances, and forward-looking occupancy, and use it to generate price




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recommendations for the competing landlords. This information is among the most

competitively sensitive data a landlord maintains.

          16.    The exploitation of sensitive data from competing landlords is central to

RealPage’s approach. As part of pitching its software to landlords, RealPage highlights

that its pricing algorithms use their competitors’ data sourced directly from “lease

transaction data.” RealPage describes this nonpublic data from competitors as one of

three “building blocks of price” in AIRM and YieldStar. Landlords thus share their

competitively sensitive information with RealPage with the understanding that

RealPage’s software will use the data to generate recommendations for rivals (and vice

versa).

          A.    Landlords Agree to Share Nonpublic, Competitively Sensitive
                Transactional Data with RealPage for Use in Generating Competitors’
                Pricing Recommendations

          17.    RealPage amasses nonpublic, competitively sensitive data from competing

landlords through use of its pricing algorithms, other rental property software, and

thousands of monthly phone calls. The combined troves of nonpublic, competitively

sensitive data are much more granular, sensitive, timely, and comprehensive than

alternatives—and far more detailed than any data publicly available to potential renters.

RealPage then uses this data in generating competitors’ pricing recommendations.

          18.    Data shared through YieldStar and AIRM. Each AIRM and YieldStar

client agrees to share detailed data with RealPage that are private, updated nightly, and

granular. The data include lease-level information on each unit’s effective rent (rent net



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of discounts), rent discounts, rent term, and lease status, as well as unit characteristics

such as layout and amenities. It also includes the number of potential future renters who

have visited a property or submitted a rental application.

       19.    Landlords understand that AIRM and YieldStar use their data to

recommend prices not just for their own units, but also for competitors. For example, a

revenue management director at Landlord 1 testified that she understood that Landlord 1,

and other competing landlords who used AIRM or YieldStar, agreed with RealPage to

share their data, which was combined in a single data pool for use by YieldStar and

AIRM. An executive at Landlord 2 noted the advantages to using YieldStar at a property

if others in the property’s submarket—the small geographic area around the property—

also used YieldStar because “the shared data between the models at different

communities can be a benefit in getting accurate transactional data on a timely basis.”

       20.    Landlords agree to provide this information for use by their competitors

because they understand they will be able to leverage the sensitive information of their

rivals in turn. In its pitch to prospective clients, RealPage describes AIRM’s and

YieldStar’s access to competitors’ granular, transactional data as a meaningful tool that it

claims enables landlords to outperform their properties’ competitors by 2–7%. RealPage

clients receive training that highlights the role of competitors’ transactional data in the

price recommendation process.

       21.    Data Shared Through Other RealPage Products. AIRM and YieldStar are

not the only ways that RealPage shares nonpublic, competitively sensitive information



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among landlords. RealPage obtains the same confidential transactional data from

landlords that license at least three other programs: OneSite, Performance Analytics with

Benchmarking, and Business Intelligence.

       22.    OneSite is RealPage’s property management software, which operates as

the central source of data for landlords’ leasing activity. Performance Analytics with

Benchmarking allows landlords to compare the performance of their properties and floor

plans (e.g., a one-bedroom, one-bathroom unit) to their competitors. Business Intelligence

is a data analytics tool that pulls data from a landlord’s property management software

and other products.

       23.    Each landlord using RealPage’s OneSite, Business Intelligence, and

Performance Analytics with Benchmarking products agrees to share its proprietary data

with RealPage and agrees that RealPage’s revenue management software can use the data

to generate pricing recommendations. The license agreements for these products

specifically identify the shared data, such as pricing information, as confidential,

nonpublic information. RealPage takes this deeply confidential information and uses it to

provide rent recommendations to competitors of these clients.

       24.    These agreements grant RealPage access to confidential information from

over 16 million units across the country, including many that do not use its revenue

management products. With respect to Performance Analytics with Benchmarking alone,

a RealPage sales representative told a prospective client that “we have over 16 million

units of data coming from various source operating systems (PMS) [property



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management software] into the PAB platform,” making RealPage the top choice for

“transactional data benchmarking.” With properties containing approximately 3 million

units using AIRM and YieldStar, these additional agreements meaningfully multiply the

scale of the transactional data used by AIRM and YieldStar. This gives RealPage greater

visibility, including into markets with less penetration by AIRM and YieldStar, granting

even initial AIRM and YieldStar adopters in a new market the benefit of access to a

significant amount of nonpublic, competitively sensitive information.

        25.   Landlords understand that AIRM and YieldStar will use data from these

products. A revenue management director at Landlord 1 explained that RealPage ingests

transactional data from several RealPage products, besides AIRM and YieldStar, for use

in revenue management.

        26.   A revenue management executive at Landlord 2 asked RealPage if other

specific landlords were using RealPage’s non-revenue management products. The

landlord’s owner client was concerned about the data available to YieldStar because

competing properties were unsophisticated and did not use revenue management. This

executive wanted to confirm that “YieldStar will be able to leverage actual transactional

data behind the scenes and not just look at offered rents for their comps.” RealPage

reminded the Landlord 2 executive that RealPage collected transactional data for all users

of OneSite, Business Intelligence, and Performance Analytics with Benchmarking, and

reassured the executive that YieldStar had ample transactional and survey data for that

area.



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       27.    Calling Landlords. RealPage has an additional, complementary product

called Market Analytics. Market Analytics compiles data from over 50,000 monthly

phone calls that RealPage makes to landlords across the country. On these calls RealPage

collects nonpublic, competitively sensitive information by floor plan on occupancy rates,

effective rents, and concessions, as well as information on the owner, management

company, and any revenue management software used at the property. These market

surveys cover over 11 million units and approximately 52,000 properties. Landlords,

including but not limited to those that use AIRM, YieldStar, or other RealPage products,

knowingly share this nonpublic information with RealPage.

       B.    AIRM and YieldStar Users Agree with RealPage to Use the Software to
             Align Pricing

       28.    In addition to agreeing to share nonpublic, competitively sensitive data with

RealPage, each AIRM and YieldStar licensee agrees with RealPage to use the AIRM or

YieldStar pricing software as RealPage designed it. Landlords are expected to review

daily AIRM or YieldStar floor plan price recommendations and use the programs to set

scheduled floor plan rents or even unit-level prices.

       29.    While landlords may not accept every price recommendation, they use

AIRM or YieldStar as their pricing software, regularly review AIRM or YieldStar floor

plan recommendations, use AIRM or YieldStar to set a scheduled floor plan rent, and use

AIRM or YieldStar to set unit-level prices.

       30.    Landlords who use AIRM and YieldStar know that others are using the

same software. Some landlords track which revenue management software their


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competitors use, including by contacting competing properties directly and exchanging

nonpublic information. Other landlords, including prospective AIRM and YieldStar

users, ask RealPage whether there are existing AIRM and YieldStar users nearby before

they themselves license the products.

       31.    An executive at Landlord 2, for example, explained to her team how she

would learn from RealPage data or from a property’s website whether a property used

revenue management. This information is important because properties that use revenue

management tend to update prices much more frequently, and so a landlord will react

differently to those price changes if it knows the competitor is using revenue

management.

       32.    RealPage frequently tells prospective and current clients that a “rising tide

raises all ships.” A RealPage revenue management vice president explained that this

phrase means that “there is greater good in everybody succeeding versus essentially

trying to compete against one another in a way that actually keeps the industry down.”

This rising tide lifts all landlords, including but not limited to AIRM and YieldStar users.

       33.    In using AIRM and YieldStar, landlords expect this pricing alignment and

use RealPage software in part for this reason. One landlord echoed the RealPage

executive, using the phrase “a rising tide rises [sic] all ships” to explain that AIRM would

move prices in a “similar manner” to how the top and bottom of the market move.

Elsewhere that same landlord noted that “if everyone in the market is doing well and

everyone in the market has [sic] is having the rates go up, so should ours, right?” An



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employee at Landlord 2 referenced RealPage’s use of the phrase “a rising tide raises all

ships” to explain how AIRM would provide price recommendations that amplify market

trends. Multiple landlords have expressed their preference that their competitors use

YieldStar and AIRM because widespread use would benefit them all. An executive of

one landlord (which itself uses YieldStar and AIRM) said in a 2021 earnings call that

more sophisticated, “high-quality competition” was better for that landlord when “they all

use revenue management. They are all smart. They raised rents when they should.”

       C.     RealPage’s Transactional Data Is Fundamentally Different from Other
              Data Available to Landlords

       34.      The data that RealPage uses and supplies is unique relative to public data

available to landlords on listing or property websites. As compared to public data,

RealPage data is much more granular, covers a broader array of business information,

and includes competitively sensitive data across several dimensions. For example:

              Information on Actual Transactions. RealPage’s data include, for each

                lease, the unit, floor plan, listed rent, final transacted lease price (including

                any discounts), and lease term.

              Renewals. RealPage’s data include the same information for lease renewals.

                Information on renewals is not listed publicly—not even asking rents—

                leaving a significant blind spot for landlords not using RealPage.

              Time Span. AIRM and YieldStar have access to current and historical lease

                data, from the previous day and going back two to three years.




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              Future Demand. The shared data further include information on tenant

                demand, including detailed information on inquiries and applications by

                potential future tenants.

              Accuracy. Landlords have greater assurance of the accuracy of the data

                because it comes directly from the landlords’ own databases.

              Coverage. The RealPage data covers millions of units from users of its

                revenue management software and other products.

       35.      RealPage touts how its data is different. As one RealPage pitch deck put it,

“we have [the] most data and the best data.” And the “[q]uality of data is best in class

given that it is ‘lease transaction data’—this provides insight into performance data from

actual signed leases, both new and renewal, net effective of concessions.” Another noted

that without YieldStar “you’ll be pricing your renewals in the dark without insight into

actual lease transaction data that YS uses to help you make pricing decisions. This is

critical to price renewals right[,] especially in a downturn.”

       36.      Access to this data proves important in winning over revenue management

clients, including skeptical ones. One RealPage senior manager noted that a “highly

suspicious CFO” was won over in part by YieldStar’s “lease transaction data” that

allowed his company to “achieve what his people couldn’t achieve on their own.”

       37.      Another landlord’s internal training presentation on YieldStar highlighted

the importance of having access to competitors’ transactional data:




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                                                                                   1



         D.    RealPage Revenue Management Software Uses Nonpublic,
               Competitively Sensitive Data to Recommend Prices

         38.    AIRM and YieldStar are built upon similar code and leverage competitive

data in similar ways. LRO, on the other hand, was originally developed outside of

RealPage and takes a different approach.

                1. AIRM and YieldStar Leverage Competitively Sensitive Data to
                   Generate Price Recommendations

         39.    AIRM uses competitors’ nonpublic, transactional data in three separate

stages of the pricing process: (1) model training, (2) floor plan price recommendations,

and (3) unit-level prices. YieldStar uses competitors’ nonpublic, transactional data in

stages two and three of its process.


1
    Landlord names have been obscured in images in this complaint.


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                     a) AIRM model training relies on competitively sensitive data to
                        generate learned parameters.

       40.    In the first stage, RealPage trains its AIRM models using nonpublic data

from OneSite and other property management software, totaling millions of executed

lease transactions, new lead applications, renewal applications, and guest cards filled out

by visiting potential tenants. This data is run through a machine learning model to

generate learned parameters for supply and demand models that are then used for all

AIRM clients across the country. Like the coefficients in a regression model, the learned

parameters are applied to the data of a landlord’s specific property, and to the data of its

competitors, when AIRM makes pricing recommendations. RealPage generally retrains

the models three to four times per year using updated nonpublic data.

                     b) AIRM and YieldStar incorporate competitors’ nonpublic data to
                        generate floor plan price recommendations.

       41.    In the second stage AIRM or YieldStar provides a price recommendation

for every floor plan of a given property. A floor plan is a grouping of units that share

similar characteristics, such as the number of bedrooms and bathrooms and square

footage. Landlords define the floor plans in their buildings—for example, a large

apartment building might have separate sets of floor plans for studios, one-bedroom, and

two-bedroom apartments. As discussed below, AIRM and YieldStar use competitors’

nonpublic, transactional data in nearly every step of setting a recommended floor plan

price, including identifying peer properties, forecasting occupancy and leasing, increasing

rents to match competitors’ changes, and determining the magnitude of price changes.



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       42.    Identifying Peers. First, AIRM and YieldStar use confidential transaction

data to identify a property’s peer properties, which include close competitors. In selecting

peer properties, RealPage’s algorithm generally looks for properties with similar floor

plans, within close geographic proximity, and with similar effective rents over time.

AIRM or YieldStar clients may review the list of peer properties and request that

RealPage add or remove specific properties.

       43.    AIRM or YieldStar then uses the nonpublic data from competitors’

executed leases to generate a market range chart for each floor plan. This chart identifies

a “smoothed” market minimum effective rent and market maximum effective rent. The

market minimum is a hard floor. AIRM and YieldStar will not recommend a rent below

the market minimum. On the other hand, the market maximum is a “soft ceiling,” and the

programs will recommend prices above the ceiling.

       44.    The client has access to the market range chart within the AIRM and

YieldStar interfaces. As shown below, for each floor plan the client can see the smoothed

market minimum and market maximum and where the client’s own floor plan sits within

the market range.




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       45.    Forecasting Occupancy and Leasing. Every night, for each participating

property, AIRM applies the model’s learned parameters to that property’s internal

transactional data to forecast the number of expected vacancies and expected lease

applications for a certain period into the future. AIRM may also use competitors’ data to

adjust the projected supply.

       46.    AIRM or YieldStar then determines whether actual leasing for a floor plan

is on track to meet predicted leasing. To do so, it creates a forecast of the number of

leases over time, using nonpublic lease and application data from the subject property,

and potentially from so-called surrogate properties (similar properties in the surrounding




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area).2 When there is an imbalance between a property’s actual and forecasted leasing, it

recommends a price change.

       47.     Changing Rents to Match Competitors. Even when a property’s supply

and demand are balanced, RealPage’s software will still recommend a price change,

based on competitors’ nonpublic data, when it determines that the market is moving. For

example, if the minimum and maximum of the competing floor plans’ effective rents

increase, it will recommend a price increase to maintain the floor plan’s market position

(its price position relative to its competitors).

       48.     Determining Magnitude of Price Changes. Once AIRM or YieldStar has

determined that it will recommend a price increase or a price decrease, it again uses

competitors’ transactional data to determine how much the price should move and

provide a floor plan price recommendation. It uses nonpublic transactional data from peer

properties, in addition to data from the subject property and surrogate properties, to

generate a market response curve—analogous to a market demand curve—for every floor

plan. This demand curve provides an estimate of how demand for particular apartments

would change in response to changes in rents, a measure that RealPage calls elasticity. In

other words, it uses competitors’ nonpublic transactional data to calculate how many

leases the property will likely gain or lose for a particular floor plan, for every price point


2
  If there is insufficient historical data for a particular building, or floor plan within that
building, RealPage will use data from what it calls a “surrogate property,” which is the
confidential transactional data from another property with characteristics similar to the
subject property.


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along the curve. Using this data, AIRM or YieldStar can determine how much the price

can increase and still achieve the target number of leases, or by how little price can

decrease to maintain a target occupancy.

       49.    RealPage describes elasticity as a pivotal input into balancing supply and

demand and, therefore, price.

       50.    The use of surrogate properties in this pricing process has the potential to

push convergence on price even further. As two properties’ surrogate sets become

closer—and therefore their respective demand curves become more similar—AIRM and

YieldStar will generate increasingly similar prices for the two properties. And the use of

surrogates is common. One of the largest landlords in the country, for example, uses

surrogates at over 80% of its properties.

       51.    This process repeats for every floor plan in the client’s property, every

night. A new floor plan price recommendation is generated daily.

                     c) AIRM and YieldStar use competitors’ nonpublic data—
                        including data on future occupancy—to determine unit-level
                        prices.

       52.    A property manager at the landlord reviews each floor plan

recommendation daily and enters the floor plan price. AIRM and YieldStar then use the

floor plan price to generate prices for every unit within the floor plan. The unit price is

shown in a pricing matrix, which provides the price for each combination of start date

and lease term. To generate the price for an individual unit, the floor plan price is

adjusted to account for unit-specific factors such as amenities (e.g., a desirable view, the



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floor level, or an in-unit washer and dryer), staleness (i.e., how long that specific unit has

been vacant), and the timing of lease expirations. AIRM and YieldStar again use

competitors’ nonpublic data during this step in at least two ways.

       53.    First, AIRM and YieldStar use data on competitors’ supply of multifamily

housing to adjust recommendations to limit “exposure” with a feature called lease

expiration management. Exposure refers to the number of units that are available for

lease. Managing lease expirations is an important element of revenue management

software. If too many leases expire and the corresponding units become available at the

same time, supply increases and rents for those units will tend to drop. This process will

also tend to repeat itself as the same units will become available at the same time a year

later for leases with a standard twelve-month term.

       54.    The objective of expiration management is to smooth out this exposure so

that landlords, as explained by one RealPage employee, “remain in a position of pricing

power.” For example, if AIRM or YieldStar sees that a large number of units will likely

be available in twelve months, it will increase the price recommendation for a twelve-

month lease relative to price recommendations for leases of other terms, such as 11

months or 13 months, in order to nudge potential renters to accept those terms. Expiration

management can only raise prices—AIRM does not lower a unit’s price if the lease term

would fall in an underexposed period.

       55.    This calculation does not rely only on the predicted future supply for the

client’s property. For any landlord who uses a “market seasonality” setting, AIRM and



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YieldStar also rely on competitors’ transactional data and the supply for those

competitors—including the supply of competitors’ existing leases that expire in the

future. AIRM and YieldStar thus work to manage lease expirations for the client’s units

based on how competitors’ supply will change.

       56.    The use of competitors’ nonpublic data in expiration management to fill out

the pricing matrix occurs regardless of whether the landlord accepts the AIRM or

YieldStar recommendation. Thus, even if a landlord were to override every price

recommendation, its rental prices would still be influenced by nonpublic information

about its competitors’ supply.

       57.    Second, AIRM and YieldStar include an amenity optimization feature. By

pricing specific amenities within units, landlords can avoid making wholesale pricing

changes to a floor plan if a specific unit fails to lease. Within the amenity analysis, AIRM

and YieldStar provide market values for specific amenities to landlords, allowing them to

compare their perceived value of an amenity with the nonpublic valuation of their

competitors. The peer data include the market minimum and maximum value for specific

amenities.

              2. LRO Relies Primarily on Landlords to Input Data on Competitors

       58.    RealPage’s LRO also provides pricing recommendations to users. LRO,

however, does not inherently use competitors’ transactional data from RealPage’s

systems to make those recommendations. Instead, each week, LRO users manually input




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competitor information into the system that they have obtained from public websites or

more questionable means, such as communicating directly with their competitors.

       59.    A small number of LRO users subscribe to a feature called AutoComp.

With this feature, RealPage provides information on competitors’ rents, traffic, and

occupancy. This information comes from market surveys that RealPage compiles using

call centers to call competitor properties. Landlords may use LRO without using

AutoComp.

       E.    RealPage Uses Multiple Mechanisms to Increase Compliance with Price
             Recommendations

       60.    AIRM and YieldStar provide daily price recommendations. RealPage has

taken multiple steps to increase compliance with AIRM and YieldStar price

recommendations. It designed AIRM and YieldStar to make it much easier to accept

recommendations than to decline them. It built an auto-accept function and pushes clients

to adopt it and increase its role. And its pricing advisors encourage landlords to follow

AIRM and YieldStar pricing recommendations. Among their duties, pricing advisors

review any request to override a price recommendation.

              1. AIRM and YieldStar Make it Easy to Accept Recommendations and
                 More Difficult and Time-Consuming to Decline

       61.    Every morning, the landlord’s property manager chooses whether to accept

the floor plan price recommendation, keep the previous day’s rent, or override the

recommendation. These options are the same for new leases and renewal leases.

RealPage makes it easier and faster for a client to accept a recommendation than to



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decline it. When accepting recommendations, the manager can choose to do a bulk

acceptance—she can accept all or multiple floor plan recommendations at once. But she

cannot do the same when overriding, or rejecting, the recommendation.

       62.    Instead, for every recommendation that she does not accept—whether

overriding or keeping the previous day’s rent—the property manager must provide

“specific business commentary” for diverging from the recommendation. This

justification, RealPage instructs, should not be a mere preference for another price but

must be based on a factor that the model cannot account for, such as local construction or

renovations occurring in the building. It must be a “strong sound business minded

approach.”

       63.    The property manager knows that these recommendation rejections and

accompanying justifications will be sent to a RealPage pricing advisor.3 If the pricing

advisor disagrees with the rejection or justification, the disagreement is escalated for

resolution to a landlord’s regional manager, who typically supervises the property

manager.

       64.    As one client who complained to RealPage explained, RealPage’s design is

“trying to persuade [clients] to take the recommendations (almost like we made it hard to

do anything but).”


3
  Some clients have internal revenue managers that are certified by RealPage. For those
clients who have internalized the revenue management function, recommendation
rejections may be routed to the internal revenue manager rather than a RealPage pricing
advisor.


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              2. RealPage Pushes Clients to Adopt Auto-Accept Settings That
                 Automatically Approve Recommendations

       65.    AIRM and YieldStar each include auto-accept functions. This functionality

automatically accepts price recommendations falling within certain parameters. By

default, AIRM and YieldStar set auto-accept parameters of a 3% daily change and an 8%

weekly change. The landlord can change these parameters, disable or enable auto-accept,

and even enable partial auto-accept. With partial auto-accept, if the recommendation

exceeds the auto-accept parameters, the recommendation is accepted as far as the

parameter permits. For example, if the auto-accept daily change limit is 4% and the price

recommendation is 5%, using partial auto-accept will result in an increase of 4%. By

enabling auto-accept, a landlord functionally delegates pricing authority to RealPage

(within the bounds of the daily and weekly limits).

       66.    As part of the onboarding process, internal RealPage guidance states,

“AUTO ACCEPT should be confirmed as ‘on’ with parameters in place.” Internal AIRM

training explained that RealPage wanted to “widen auto accept parameters” by

introducing the feature and then “creating enough trust so that over time we have client[s]

that are willing to let auto accept run with very wide parameters… AKA – accept all

recommendations.” RealPage trains pricing advisors to have an “accountability

conversation” or a “refresher on short term vs long term goals” for clients that show less

tolerance for increasing auto-accept parameters.

       67.    Even if a landlord does not want to use auto-accept, RealPage trains its

advisors to convince the landlord to turn it on with 0% limits—a setting whereby auto-


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accept will never accept price changes. The reason? So that it is no longer a question of

whether the client turns on auto-accept, but only a matter of convincing them to widen

the parameters and further delegate pricing decisions. RealPage instructs its advisors on

best practices: “[I]f a partner is not ready to use auto acceptance, are they ready to use

revenue management?”

              3. RealPage Pricing Advisors Provide a “Check and Balance” on
                 Property Managers to Increase Acceptance of Recommendations

       68.    RealPage offers landlords pricing advisory services. Landlords typically

have an assigned pricing advisor, unless the client has internal revenue managers that

were certified by RealPage. Pricing advisors play an important role in the daily review of

pricing recommendations. Landlords’ property managers are asked to review

recommendations every morning by 9:30 a.m. After their review, a pricing advisor

accepts agreed-upon pricing within an hour and escalates any disputes to the landlord’s

regional manager.

       69.    If a property manager disagrees with the direction of a recommended price

change—e.g., the manager wants to implement a price decrease when the model

recommends a price increase—the RealPage pricing advisor escalates the dispute to the

manager’s superior. As a pricing advisor manager explained in a client training, the

advisor would “stop the process and reach out to our partners”—the property manager’s

supervisors—to “talk about this further.” The advisors, the manager elaborated, are part

of a system of “checks and balances.” The client confirmed the value of this system to




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stop property managers from acting on emotions, which could limit RealPage’s influence

on their pricing.

       70.    Beyond the daily interactions between pricing advisors and their own

property managers, clients agree to make meaningful changes when they use RealPage’s

pricing advisory services. Under the specifications for this service, clients agree to use

AIRM or YieldStar exclusively to give quotes to potential renters, further tying

landlords’ pricing decisions to RealPage’s software. Clients also agree to change their

commission programs for leasing agents to “ensure these programs motivate sales

behavior that is consistent with the objectives of revenue growth.” And clients further

agree to revenue growth as the official metric to evaluate AIRM and YieldStar, as

opposed to occupancy rates.

              4. Pricing Recommendations Heavily Influence Landlords’ Behavior

       71.    RealPage defines an acceptance as where the final floor plan price is within

1% of the recommended floor plan price. According to that definition, the average

acceptance rate across all landlords nationally for new leases between January 2017 and

June 2023 is between 40-50%. But RealPage itself recognizes that acceptance rates are

not necessarily the best measure of its influence; one employee explained that the spread

between a floor plan recommendation and the final scheduled floor plan price is more

useful for measuring model adoption—and therefore influence—than the binary

accept/reject decision that the RealPage-defined acceptance rate reflects. Widening the

definition of acceptance even slightly to account for partial acceptances illustrates the



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influence of recommendations: nearly 60% of final floor plan prices are within 2.5% of

RealPage’s recommendation, and more than 85% are within 5% of RealPage’s

recommendation.

       72.    RealPage’s preferred measure of acceptance understates the influence of

RealPage’s price recommendations and the effect of competitors’ data. AIRM and

YieldStar use competitors’ nonpublic transactional data to adjust unit-level pricing, after

a floor plan recommendation has been accepted or rejected. RealPage’s metric does not

capture the cumulative effect of rate acceptances over time. Nor do they capture when a

client is influenced by and partially accepts a recommendation.

III.   COORDINATION AMONG COMPETING LANDLORDS IS A
       FEATURE OF THIS INDUSTRY

       73.    Several characteristics of apartment-rental markets make it easier for

landlords to coordinate with, or accommodate, each other. Rental housing is a necessity

for many Americans, meaning that demand is inelastic—that is, changes in rent produce

relatively small changes in the number of renters. There is significant concentration

among landlords in local markets, and these landlords engage in widespread, regular

communications with one another. And RealPage makes rental units more comparable to

each other in AIRM and YieldStar, allowing landlords to track one another more easily.

These industry characteristics exacerbate the harm to the competitive process—and

ultimately to renters—from the exchange of nonpublic, competitively sensitive data

through RealPage and the use of the AIRM and YieldStar models.




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      A.    Rental Housing is a Necessity for Millions of Americans

      74.    Shelter is a basic, foundational necessity of life. And for tens of millions of

Americans, conventional multifamily apartment buildings are the only reasonable option

for much of their lives. Many renters cannot afford the significant down payment needed

to purchase a single-family home, among other requirements.

      75.    Demand for apartments is relatively inelastic. Rising rents have

disproportionately affected low-income residents: The percentage of income spent on rent

for Americans without a college degree increased from 30% in 2000 to 42% in 2017. In

2021, the proportion of severely burdened households—households spending more than

half of their income on gross rent—was 25%, or approximately 10.4 million households,

an increase in approximately 1 million households since 2019. By 2022, this number

increased to 12.1 million households. For college graduates, the percentage of income

spent on rent increased from 26% to 34% from 2000 to 2017.

      B.    The Multifamily Property Industry is Rife with Cooperation Among
            Ostensible Competitors

      76.    Within particular metropolitan areas and neighborhoods, the multifamily

property industry is concentrated and replete with competitively sensitive discussions

among ostensible competitors. Landlords have agreed with one another to share

nonpublic, sensitive information, both indirectly through RealPage software and directly

outside of RealPage’s software. RealPage facilitates some of these discussions, while

others are made directly between competing landlords. These discussions supplement and

reinforce the indirect information sharing among landlords that occurs through AIRM


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and YieldStar. As a result of this coordination, RealPage’s pricing algorithms are even

more likely to restrain, rather than promote, competition.

              1. At the Local Level, the Multifamily Property Industry Comprises a
                 Small Number of Large Landlords Managing Buildings with
                 Different Owners

       77.    In 445 zip codes with at least 1,000 total multifamily units across 109 core-

based statistical areas, five or fewer landlords manage more than 50% of the multifamily

units. Within the submarkets alleged in this complaint, there are at least 139 zip codes,

each with at least 1,000 total multifamily units, in which five or fewer landlords manage

more than half of those units. Similarly, within the ten core-based statistical areas alleged

in the complaint, there are 117 zip codes, each with at least 1,000 total multifamily units,

in which five or fewer landlords manage more than half of those units.

       78.    The same landlord often oversees nearby properties with different owners.

In at least 502 zip codes, at least one landlord using AIRM or YieldStar oversees

properties with different owners.

       79.    There is also overlap among RealPage pricing advisor assignments. In at

least 683 zip codes, within 96 core-based statistical areas, a RealPage pricing advisor has

responsibility for properties managed by different landlords. RealPage takes no steps to

avoid assigning the same pricing advisor to properties with different owners, even if

those properties compete with each other or are RealPage-mapped competitors.




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              2. Landlords Regularly Discuss Competitively Sensitive Topics with
                 Their Competitors and Swap Information

       80.    Landlords regularly solicit and obtain nonpublic information about

inquiries by prospective renters, occupancy, and rents from their direct competitors.

Although this information is not as accurate or thorough as the transactional-level data

shared with AIRM and YieldStar, it is nonetheless sensitive competitive information.

       81.    Landlords collect this information through a variety of means, including

weekly phone calls, emails, and in-person visits. Some landlords also share information

on their local geographic markets through shared Google Drive documents. One

RealPage employee explained to his colleagues, reflecting on his former time working at

a landlord, that these weekly inquiries “required cooperation among the comp[etitor]s but

wasn’t hard to get that.” In June 2023, a senior director at Landlord 3 admitted that “this

practice has been prevalent in our industry for a long time.”

       82.    Landlords not only knew of these so-called “market surveys,” but expected

their property managers to participate. As a manager of Landlord 3’s revenue

management department explained, “we have always expected our properties to continue

doing a traditional market survey[,]” which “gives us insight into the very specific

handful of competitors closest to the subject property.”

       83.    At a February 2020 industry event, representatives from Landlord 3 and

two other landlords shared tips on collecting information on concessions and net effective

rents from competitors. The suggestions included bi-weekly and monthly meetings with

competitors, sponsored “cocktail hours for regional competitors to share info and build


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relationships and rapport,” and using Google Drive documents to share information on a

weekly basis. Building relationships with competitors to get accurate data was “critical.”

The representatives cautioned that the collected data was used to make “major decisions

about pricing,” so the landlord employees collecting data should be trained accordingly to

ask such questions as “are you seeing a slow down?” and “are you adjusting pricing?”

       84.    Some landlords engage in even more sensitive communications about price,

demand, and market conditions. These communications are not isolated instances at a

specific property. Rather, they are conversations at the corporate revenue management

level about strategies and approaches to market conditions that apply to the landlords’

business across all markets.

       85.    For example, in January 2018, Landlord 2’s director of revenue

management reached out to Landlord 1’s director of revenue management and asked

about Landlord 1’s use of auto accept in YieldStar. In response, Landlord 1’s director

provided Landlord 1’s standard auto-accept settings, including daily and weekly limits

and for which days of the week auto accept was used. The Landlord 1 director,

explaining why she provided this information, testified that the Landlord 2 director was a

“colleague,” even though Landlord 2 was a competitor to Landlord 1.

       86.    In September 2020, Landlord 4’s director of revenue management reached

out to Landlord 1’s director of its internal revenue management team. Landlord 4 asked

Landlord 1—a direct competitor—what increases on renewal pricing Landlord 1 had seen

in August and offered what it had seen. Landlord 1’s director replied with information



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not only on August renewals, but also on how Landlord 1 planned to approach pricing in

the upcoming quarter. Landlord 1’s director further disclosed its practices on accepting

YieldStar rates and use of concessions. As the conversation continued, the two

competitors shared additional highly-sensitive information on occupancy—including in

specific markets—demand, and the strategic use of concessions.

       87.    In June 2021, Landlord 2’s head of revenue management emailed Landlord

1’s revenue management director. She proposed collaborating with Landlord 1 to

convince a client to move all of its properties, including those managed by Landlord 2

and those managed by Landlord 1, to AIRM. But she also noted that, in thinking about

“the larger picture as well,” it could be useful to “coordinate with the other companies

that we often share business with” to prepare to move their clients to AIRM as well.

Landlord 1 responded favorably to transitioning the joint client to AIRM.

       88.    In November 2021, a revenue management executive at Landlord 5 emailed

an executive at Landlord 4 to propose a call to discuss how Landlord 4 approached lease

renewals, for the purpose of informing how Landlord 5 calculated renewal increases. The

two spoke that day. The following day, another Landlord 5 executive—who was included

on the call—thanked the Landlord 4 executive for the opportunity “connect on industry

best practices” and asked another “operational question” about implementing “larger

renewal increases.” The executives exchanged emails over the next few months,

including discussing their respective strategies on maximum increases to lease renewal




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prices. They shared not only their increase limits in specific markets but also what price

increases they were able to achieve.

       89.     In September 2021, a property manager at Landlord 6 explained to a

colleague that the manager had called two competitors and received from them pricing

information on two-bedroom and three-bedroom units. The property manager asked for

the information to decide how to act on YieldStar’s price recommendations.

       90.     In addition to contacting each other directly, many landlords also exchange

information through other intermediaries. One vendor offers a tool for landlords to

exchange with one another nonpublic information on concessions, net effective rents,

inquiries and visits by prospective renters, and occupancy that is pulled from each

landlord’s property management software. Over 150 landlords nationally use this service,

including Landlord 1 and Landlord 5, and some of the other largest landlords across the

country. The vendor’s CEO described this as a “quid pro quo or give to get” arrangement

among landlords where “if you share this data with me, I’ll share the same data.” A

RealPage employee noted that this vendor makes it “quicker and easier to get your

market surveys.”

       91.     Some landlords use this direct exchange of competitively sensitive

information to update competitor rents within LRO—a practice that RealPage is aware of

and accepts.

       92.     Recently, under the scrutiny of antitrust lawsuits, at least one landlord

(Landlord 3) has adopted an internal policy prohibiting “call arounds” and other direct



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sharing of competitively sensitive information with direct competitors. But even

assuming that its property managers fully comply with these legally unenforceable

internal policies, Landlord 3 continues to use RealPage’s revenue management software.

               3. At RealPage User Group Meetings, Landlords Discuss Competitively
                  Sensitive Topics

         93.   RealPage holds monthly “user group” meetings attended by competing

landlords that use RealPage’s software. There are separate user group meetings for LRO

and for YieldStar and AIRM.4 One of RealPage’s stated purposes for the user groups is to

“to promote communications between users.” Attendees include a wide mix of competing

landlords. For example, the June 2022 YieldStar user group included representatives

from five of the largest property management companies in the country, among a larger

group.

         94.   Recurring topics at the user group meetings include product enhancements

and an “idea exchange” on potential changes to the products. The user group participants

often vote on the proposals discussed in the idea exchange. But discussions have covered

competitively sensitive topics, including managing lease expirations, pricing amenities,

and how to manage properties during the COVID-19 pandemic. RealPage encouraged

landlords to use the user group meetings to discuss such topics in their industry and set

agendas for these meetings to aid them in doing just that.




4
  RealPage previously held separate AIRM and YieldStar user groups but combined them
in 2023.


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       95.    At an April 2020 YieldStar user group meeting, the participants discussed

strategies for handling the COVID-19 pandemic. In the presentation, two RealPage

employees and a landlord led a group discussion of trends in rent payments and

collections and provided five strategic tips. One tip encouraged landlords to “push for

occupancy but don’t give away the farm (pricing).” Another counseled landlords to

“balance internal and external dynamics” and, referring to the nonpublic information used

by YieldStar, to “use transactional market data for decision support and to know when

you can be more aggressive” in pushing higher rents. Invited attendees included

representatives from at least twelve landlords. At this meeting, Landlord 1 and another

landlord shared information on their usage of payment plans with tenants.

       96.    In May 2020, RealPage started a YieldStar user group meeting by

surveying them on concessions. RealPage asked landlords how many of their properties

offered concessions, whether concessions applied to new leases or renewals, and the

types of concessions offered (such as discounts, gift cards, or other benefits). Invited

attendees included representatives of thirteen landlords.

       97.    RealPage began its agenda for an April 2021 YieldStar user group meeting

with “strategic insights” from a RealPage economist. This employee shared “21 key

strategic insights,” including “focus on renewals,” “be cautious with concessions,” and

“drive up revenues—not just base rent.” Specifically, he urged the group to “push up new

and renewal pricing where demand [is] solid” and warned against over-relying on

concessions. They were instead to “trust the science” of YieldStar.



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          98.    In May 2021, RealPage included a “Back to Basics” discussion in a

YieldStar user group meeting. This discussion covered “returning to renewal increases

post-COVID” and “declining concessions,” as well as eviction moratoria and areas where

acceptance rates were “seeing significant uptick in past 6 months.” The meeting group

chat is even more revealing. Over a period of approximately fifteen minutes,

representatives from fifteen landlords shared their plans for renewal increases and their

use of concessions. These representatives made statements on renewal increases such as

“increasing, back to normal,” “major rent growth on the west coast,” “increasing the

renewals,” “almost all markets we are raising rents,” “actually raising more than before

covid at some,” “raising,” and “we are pushing to get back to normal. Sending increases.”

A representative from Landlord 5 stated, “increasing renewals and pushing new lease

rents.”

          99.    The user group members were similarly open about their disinterest in

concessions, signaling to each other that they do not intend to offer them or would offer

them less frequently. Their pronouncements included “no consessions [sic],” “no

concessions,” “considerably less concessions,” “less frequent and less aggressive,” “no

concessions except in markets with a lot of lease-ups,” and “almost no concessions

currently.”

          100.   When the discussion turned to acceptance rates, one user group member

explained to the group, for “about 1/3 of the communities I manage the [YieldStar] model




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was too slow to respond, and we are pushing rates above market and above YS

rec[ommendation].”

       101.   The Landlord 5 representative who attended this May 2021 meeting

testified that similar discussions happened numerous times during the COVID-19

pandemic—specifically, the beginning of 2020 through the middle of 2022. In these

meetings, user group members discussed new and renewal rent increases, concessions,

and renewal strategies, as well as other sensitive topics.

       102.   RealPage claims that this and other user group meetings were not recorded.

       103.   The July 2021 YieldStar user group meeting, held at RealWorld (a

RealPage-hosted industry event), included a roundtable discussion among competitors.

One of the discussion topics? “What is the one thing you consistently consider outside of

the model when accepting or changing price and why?”

       104.   At the October 2021 YieldStar user group meeting, a RealPage economist

gave a presentation regarding the 2022 market outlook. RealPage presented analyses on

current occupancy and pricing, and on expected occupancy and rent growth in 2022 by

geographic regions.

       105.   At the July 2022 RealWorld YieldStar user group meeting, RealPage

hosted a “roundtable discussion” on market volatility and its impact on how to use




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revenue management, unit amenities and their impact on tenant rents, and best practices

for conducting lease ups.5

       106.   RealPage recognized the sensitive nature of the information shared at these

meetings. Beginning in late 2022, after public reporting about AIRM and YieldStar,

RealPage added an antitrust compliance statement in the user group presentations.

Among other directions, the statement instructed participants not to discuss “confidential

or competitively sensitive information,” and then noted that this included “you or your

competitors’ prices or anything that may affect prices, such as current or future pricing

strategies, costs, discounts, concessions or profit margins.” But these were the very topics

of previous user group meetings, as described above, that RealPage encouraged its users

to discuss. And these are the very types of nonpublic information that AIRM and

YieldStar use to recommend and determine prices.

       107.   Landlords frequently take advantage of RealPage user group meeting

invites to email each other directly. In August 2020, for example, an employee of

Landlord 6 emailed a user group invitee list and asked them to support a change to how

YieldStar calculated the number of leases needed. In response, an employee of a different

landlord agreed, adding that “I also rely on comparing available units to adj[usted] leases

needed, to forecast leases, to gut check the pricing recs. These data points are always a

factor in my pricing decisions.”



5
 A lease up is typically a pre-leasing period (such as with a newly constructed property)
where a landlord is seeking to reach a certain, initial occupancy threshold.


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      C.     RealPage Uses Nonpublic Information to Allow Landlords to More
             Easily Compare Units on an Apples-to-Apples Basis

      108.    Renters typically search for a rental unit using certain key criteria,

including the number of bedrooms and the location. Recognizing this market reality,

RealPage enables landlords to more easily compare unit prices. When picking a

property’s “peer set,” RealPage matches floorplans with the same number of bedrooms

that are geographically proximate. This makes it easier for landlords, through AIRM and

YieldStar, to track and respond to competitors’ movements at the floor plan level.

      109.    To account for amenities, RealPage instructs landlords to identify amenities

using standardized naming conventions so that RealPage can use machine learning to

group amenities together. RealPage then provides the market value for specific amenities,

allowing landlords to more accurately identify and track how their competitors value

these amenities and adjust their own pricing accordingly. The peer data include the

market minimum and maximum value, as well as market quartile values, for specific

amenities.

IV.   REALPAGE HARMS THE COMPETITIVE PROCESS AND RENTERS
      BY ENTERING INTO UNLAWFUL AGREEMENTS WITH
      LANDLORDS TO SHARE AND EXPLOIT COMPETITIVELY
      SENSITIVE DATA

      110.    AIRM’s and YieldStar’s use of nonpublic, competitively sensitive data is

likely to harm, and has harmed, the competitive process and renters. AIRM and YieldStar

distort the competitive process by using nonpublic data to maximize pricing increases and

minimize pricing decreases. AIRM and YieldStar incorporate special rules, called



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“guardrails,” that override the ordinary functioning of the algorithms in ways that tend to

push rival landlords’ rental prices higher than would occur in a competitive market.

RealPage presses landlords to curtail “concessions” to renters. And AIRM and

YieldStar’s “lease expiration management” features aim to sequence vacancies to

maximize landlords’ pricing power.

       A.     AIRM and YieldStar Have the Purpose and Effect of Distorting the
              Competitive Pricing of Apartments

       111.    As RealPage frequently trumpets to landlords, “a rising tide raises all

ships.” AIRM and YieldStar ensure that the ‘tide’ flows primarily one way—higher

rental prices. In a hot market, AIRM and YieldStar will recommend price increases to test

what the market will bear, while in a down market AIRM and YieldStar will, to the

extent possible, still increase or hold prices and minimize price decreases to reach the

target occupancy rate.

       112.    AIRM and YieldStar are designed to help landlords press pricing beyond

what they could otherwise achieve while reducing the risk that other landlords would

undercut them. A revenue manager at Landlord 2 explained it succinctly: YieldStar is

“designed to always test the top of the market whenever it feels it’s safe to.” By using

competitors’ sensitive nonpublic data to generate elasticity estimates, among other things,

AIRM and YieldStar can recommend higher price increases to extract more money from

renters without losing an additional lease. As RealPage explained to a YieldStar client in

training, this pricing elasticity measurement informs “how far do we stretch and pull




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pricing within the market.” That, in turn, means that “we may have a $50 increase instead

of a $10 increase for that day.”

       113.   That insight, gleaned from competitors sharing sensitive, transactional data

with RealPage, which is in turn shared with landlords through pricing recommendations,

removes uncertainty and competitive pressure that benefits renters. As one landlord put it,

these products “eliminate the guessing game” on rent.

       114.   As RealPage explains to its clients, AIRM and YieldStar reveal “hidden

yield.” This extra yield or revenue is hidden in a competitive market—a market in which

competitors do not share sensitive information with each other—because landlords “can’t

see the opportunity” and “fail to capture [the] full opportunity.”

       115.   AIRM and YieldStar disrupt the normal competitive bargaining process

between landlords and renters. They place landlords in a better negotiating position vis-à-

vis renters. Landlords using AIRM and YieldStar know that these models recommend

floor plan prices and price units incorporating nonpublic data of their competitors,

including effective rents and occupancy rates, all of which allow landlords to raise price

with more certainty.

       116.   As landlords appreciate, AIRM and YieldStar use competitors’ nonpublic

data to predict with more certainty the highest price that the market will bear for a

particular unit. A landlord is therefore less likely to negotiate on price. Any potential

negotiation instead turns on lease term and move-in date, which AIRM and YieldStar

adjust the pricing for to avoid overexposure for the landlord in the future.



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        117.   AIRM and YieldStar also encourage landlords to follow each other in

raising rents. When transactional data reveal that peers are raising effective rents—

particularly the highest and lowest competitors for a given floor plan—AIRM and

YieldStar follow with recommendations to increase rental prices. This movement with

the market is ingrained in the AIRM and YieldStar models; AIRM and YieldStar will not

recommend a floor plan price that falls below the market minimum.

        118.   Accordingly, as adoption of AIRM and YieldStar increases among peer

competitors, the use of AIRM and YieldStar can push prices up through a feedback

effect. As peers move up, other AIRM or YieldStar users may move up accordingly. This

phenomenon, where participating landlords “likely move in unison versus against each

other,” a RealPage executive testified, explains “the rising tide.” The same executive saw

evidence of this “rising tide” in 2020: When looking at multiple peer sites using

YieldStar, “we started to see the trajectory of performance and trends be eerily similar

when comparing subject sites and comp sets, thus showing that we are in fact ‘r[a]ising

the entire tide.’” He acknowledged that YieldStar contributed to market prices rising as a

tide.

        119.   Landlords rely on competitors’ data within AIRM and YieldStar to

determine their prices and how hard they need to try to be competitive. A revenue

management director at Landlord 1 noted in an internal AIRM deck that competitors’

data is “like the boundaries of the street you are driving on.” The director elaborated that




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“the competitive market range are [sic] the edges of the road, staying in those boundaries

are [sic] necessary to get you to the destination.”

       120.     Another landlord that used YieldStar told RealPage that within a week of

adopting YieldStar they started increasing their rents, and within eleven months had

raised rents more than 25% and eliminated concessions. The landlord added that they

were now pricing at the top of their peers and, importantly, had “brought the rest of the

Comps rents up with us.” A RealPage executive responded internally that this was a

“great case study that highlights performance before, during, and a result of YS

[YieldStar].”

       121.     Landlord 6 explained in an internal presentation that because YieldStar

recommends floor plan pricing that moves with the market—a market position—

YieldStar would use competitors’ data to inform “how competitive we need to be [e]ach

[d]ay.”




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       122.   AIRM uses machine learning to train models on competing landlords’

sensitive data. The parameters learned in this training are then applied to each AIRM

client.6 As a result, the model uses the same method and learned parameters to generate

price recommendations from the relevant data for each landlord.

       123.   This aligns and stabilizes prices in at least two ways. First, it reduces

volatility in how prices change, compared to a situation in which each client sets prices

independently. No longer do competitors react in distinctive ways to changing market



6
 There are separate AI Supply models, and therefore potentially different learned model
parameters, for clients using Yardi’s property management software and clients using other
property management software. But within these two categories the learned model
parameters for the AI Supply models are the same.


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conditions as they would in a market without access to competitors’ transactional data.

Instead, AIRM price recommendations tend to standardize those reactions. This leads to

the second result: pricing recommendations, and consequently pricing decisions, become

more predictable and aligned among competitors as each is using the same set of learned

model parameters.

       124.   RealPage has even manipulated competitor mappings to increase the

likelihood that AIRM or YieldStar would recommend price increases. For example, a

prominent client asked why a subject property had mapped peers located more than 100

miles away, in a different metropolitan area, when there were satisfactory mapped

competitors within five miles. RealPage’s response was that if these distant properties

were not mapped, the client’s property would be at the top of the market and it would be

more difficult for AIRM to recommend price increases. RealPage had originally mapped

these distant properties to give the model more room to recommend price increases for

the client’s property.

       125.   This dynamic exists not only in markets with growing demand, but also so-

called “down markets,” where demand is decreasing. In a competitive market with a

fixed supply (at least in the short run) of housing units, a demand decrease would result

in prices falling. But AIRM and YieldStar resist price decreases in down markets as

much as possible while achieving targeted occupancy rates. RealPage told one

prospective AIRM client that the combination of “AI and the robust data in the RealPage

ecosystem” would allow the landlord to “avoid the race to the bottom in down markets.”



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       126.   Using competitors’ transactional data to calibrate and set the bounds of its

model enables YieldStar and AIRM to decrease prices as little as possible in a down

market. As one example, in 2023 a landlord reached out to RealPage with concerns about

price recommendations at a property. Despite the property having too many vacancies

and peer properties decreasing in price, AIRM was recommending price increases,

frustrating the property owner. A senior RealPage executive responded that the model

was not lowering prices because “there isn’t much elasticity between the recommended

position and the current one” and “the model would recommend the highest possible

position [i.e., price] without affecting demand.”

       127.   RealPage succinctly summarized for landlords the effect of using AIRM

and YieldStar in down markets: it “curbs [clients’] instincts to respond to down-market

conditions by either dramatically lowering price or by holding price when they are losing

velocity and/or occupancy.” These tools instill pricing discipline in landlords, curbing

normal fully independent competitive reactions by substituting them with interdependent

decision-making (i.e., through the use of pricing recommendations based on shared,

competitively sensitive information). These products ensure that clients are “driving

every possible opportunity to increase price even in the most downward trending or

unexpected conditions.”

       128.   When one client wanted to cancel YieldStar, a RealPage executive noted to

colleagues that with cancelation the client would lose “our helping them mitigate damage




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during rent control and covid.” In particular, the client would lose “us helping them rise

with the tide given their strategy.”

       129.   Landlords understand the sensitivity of the information being shared and

the likely anticompetitive effects. One potential client put it succinctly to RealPage: “I

always liked this product [AIRM] because your algorithm uses proprietary data from

other subscribers to suggest rents and term. That’s classic price fixing . . . .”

       130.   Landlord 3 recognized the anticompetitive potential of sharing this level of

detailed competitor data. When a property owner asked for information on specific

competitors, Landlord 3’s director of revenue management replied that the requested tool,

RealPage’s Performance Analytics with Benchmarking, did not provide information on

specific competitors. The reason? Performance Analytics with Benchmarking “tracks

transactional information therefore due [to] the potential pricing collusion, it’s

anonymize[d] by RealPage.” Performance Analytics with Benchmarking draws from the

same transactional database as AIRM and YieldStar. And while AIRM and YieldStar do

not display the granular transactional data to the user, AIRM and YieldStar see and use

that data. The price recommendations are based upon the very data that this client

recognized could lead to collusion.

       131.   Even RealPage employees selling LRO recognized the anticompetitive

harm from using competitors’ transactional data to recommend prices. In a 2018 training

deck provided to clients, RealPage explained, “we often times get the question about if

comps are on LRO, can we just update the rents for you? Unfortunately, no, we can’t.



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That could be considered price collusion, and it’s illegal.” But this is precisely what

AIRM and YieldStar do.

       B.     AIRM and YieldStar Impose Multiple Guardrails Intended to
              Artificially Keep Prices High or Minimize Price Decreases

       132.    Unsatisfied with relying merely on competitively sensitive data to

advantage landlords, RealPage created “guardrails” within AIRM and YieldStar to force

adjustments to the price recommendation. But these guardrails serve as one-way ratchets

that help landlords, not renters, by increasing price recommendations or limiting a

recommended decrease. And each of these guardrails makes use of competitively

sensitive data that landlords agree to share with RealPage. These guardrails have even

spurred multiple landlords to tell RealPage that AIRM and YieldStar are not dropping

recommended rents as much as their individual conditions, or even market conditions,

would warrant.

       133.    Hard Floor. AIRM and YieldStar will not recommend a floor plan price

that falls below the smoothed market minimum effective rent. The market minimum is a

hard floor. AIRM and YieldStar thus explicitly constrain floor plan price

recommendations based on the prices of competitors, using shared nonpublic

information.

       134.    Revenue Protection Mode. RealPage created a “revenue protection” mode

that effectively lowers output to increase revenues. Revenue protection activates when

AIRM or YieldStar predict—using calculations incorporating competitors’ data—that

demand is too low for a landlord to meet its target occupancy. Rather than lowering the


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price to stimulate demand, the algorithm reduces the target number of leases. AIRM and

YieldStar then maximizes revenue for the reduced occupancy level, which tends to

reduce price decreases or increase rental prices.

       135.    RealPage acknowledges that revenue protection “may seem counterintuitive

to leasing needs.” In June 2023, a landlord complained to RealPage that “something in

your model is broken” because “the pricing model is not lowering rents dramatically”

despite the client’s high exposure during a busy summer leasing season. RealPage

explained that, with revenue protection, “the model still sees the way to make more

revenue is to lease fewer units at higher prices.” In other words, the model seeks to “raise

rates to get the highest dollar value possible for the leases we can statistically achieve”

and ignore those leases that the client wants but the model predicts, using competitors’

data, the client will not get.

       136.    The model’s hard price floor can trigger revenue protection mode. In May

2022, for example, a landlord complained that AIRM was recommending price increases

despite a projected shortfall in leases. Because revenue protection mode cannot be turned

off, the RealPage pricing advisor recommended that the client reduce sustainable

capacity. Sustainable capacity is a client-set parameter that imposes an inventory

constraint and determines the number of leases AIRM and YieldStar will try to achieve.

This is, of course, what revenue protection mode functionally does on its own: increase

inventory constraints to reduce output.




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       137.   This phenomenon, a RealPage employee explained internally, was “true

revenue protection mode.” The client’s floor plan was priced toward the bottom of its

competitors. AIRM did not see any price decrease that would achieve the original target

number of leases without dropping below the market floor (determined using

competitors’ data). Because AIRM never recommends prices below the market floor,

AIRM instead reduced the number of leases and optimized against that new, lower

occupancy rate.

       138.   Revenue protection mode interrupts AIRM’s and YieldStar’s normal

revenue maximization process. As a RealPage data scientist explained, “the model really

wants to reduce rent but is prevented from doing so by the revenue protection

restriction.” Revenue protection leads to higher prices and lower occupancy.

       139.   Sold-Out Mode. Once a landlord reaches its targeted capacity for a

particular floor plan, the model considers that floor plan “sold out” even though units

may still be physically available. In that situation, AIRM and YieldStar recommends the

maximum rent charged by a property’s competitors, even if the floor plan’s previous

price was far lower.

       140.   RealPage intentionally designed sold-out mode to use competitively

sensitive data to lift rents. In an earlier version of the software, sold-out mode pushed

rents to 95% of that floor plan’s highest recently achieved rent. But RealPage modified




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the algorithm in 2022 to go “straight to 100% of comps,” deliberately aligning rents with

competitors’ highest rents, rather than the property’s own historical performance.7

       141.   The Governor. AIRM and YieldStar favor recommended price increases

over price decreases. When the model calculates that the current day’s “optimal” price

will result in greater revenue than the previous day, a feature called the “governor”

causes the model to recommend the current day’s optimal price.8 But when AIRM or

YieldStar calculates that the current day’s optimal price will result in less revenue than

the previous day, the governor recommends the recent average price even though it is not

optimal for the current day. In other words, when market conditions weaken and the

model calculates that a price decrease is warranted, this guardrail kicks in and

recommends keeping the recent rent even though it is suboptimal. This asymmetry favors

price increases over price decreases.

       142.   The effect of these guardrails is intentionally asymmetric. AIRM and

YieldStar recommend price increases generated by the model. But the guardrails reduce

or eliminate certain proposed price decreases even though the model has determined such

deviations may contravene the landlord’s individual economic interest.



7
  RealPage has at least considered changing this model logic because it introduced
meaningful pricing volatility and significant price increases. Even if RealPage has
implemented this proposed logic change, the new model logic still incorporates
competitors’ confidential rents because AIRM and YieldStar recommend a market position
that is tied to the bottom and top of the market, as defined by mapped competitors.
8
  In some circumstances AIRM will cap the floor plan recommended price increase at a
five percent increase.


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       C.     AIRM and YieldStar Harm the Competitive Process by Discouraging the
              Use of Discounts and Price Negotiations

       143.    RealPage discourages landlords using AIRM and YieldStar from

discounting rents. In the multifamily property industry, discounts typically consist of

“concessions,” which are financial allowances (such as a free month’s rent or waived

fees) offered to incentivize renters. Concessions may be offered generally or negotiated

individually with a potential tenant.

       144.    In a competitive marketplace, each landlord may independently decide to

offer concessions so that it can better compete in enticing lessors. But, again, RealPage

seeks to replace fully independent, competitive decision-making with collective action by

ending concessions. AIRM and YieldStar do not work as well when landlords use one-off

or lumpy concessions. In its “best practices” for revenue management to landlords,

RealPage’s guidance is simple: “Eliminate concessions.” Detailed “best practices”

documents for both YieldStar and AIRM users explain that “concessions will no longer

be used in conjunction with” YieldStar and AIRM.

       145.    When onboarding a new property, RealPage emphasizes the importance of

accepting price recommendations without offering discounts, including “no concessions.”

Concessions cause landlords to deviate from what RealPage determines is the maximum

revenue-generating price.

       146.    Landlords have worked to implement RealPage’s requests. In one YieldStar

training, Landlord 1 explained that “Concessions are gone!” In a client-facing FAQ

document about its revenue management products, RealPage explained that “the vast


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majority of our clients have discontinued the use of concessions.” A 2023 RealPage client

presentation showed that the number of units offering concessions generally trended

downward from approximately 30% of units in 2013 to under 15% in 2023. A client’s

refusal to offer concessions is bolstered by its awareness of competing landlords

receiving the same advice from RealPage. In addition to discouraging discounts,

RealPage discourages negotiating prices with renters. RealPage trains landlords that

“YieldStar [or AIRM] is managing your Price,” so the landlord’s staff can focus on other

things. The YieldStar or AIRM rent matrix is to be the source of prices that are given to a

prospective renter. RealPage instructs leasing staff to provide prospective renters the

specific price from the matrix that corresponds to the prospect’s desired move-in date,

unit, and lease term. RealPage cautions landlords not to show renters the matrix itself.

       D.     AIRM and YieldStar Increase and Maintain Landlords’ Pricing Power
              by Using Competitors’ Data to Manage Lease Expirations

       147.    Supply is a basic component of pricing. For this reason, information on a

company’s supply is highly sensitive, and its disclosure to competitors is particularly

concerning. Yet AIRM and YieldStar use competitors’ supply data precisely for the

purpose of adjusting unit-level pricing, regardless of whether the landlord accepts the

floor plan price recommendation. The goal of this “lease expiration management” is

clear: As a RealPage senior manager explained for a client, using this data means that the

client’s property “will remain in a position of pricing power.”




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       148.   The purpose of lease expiration management is to avoid too many units

becoming available in the market at the same time. Expiration management only

increases unit-level prices. It never reduces the price.

       149.   Every landlord can choose to use “market seasonality” to inform its lease

expiration management. As the name suggests, market seasonality adjusts the landlord’s

prices based on how many of its competitors’ units will be vacant—that is, future supply.

This feature is popular among landlords. For example, one of the largest landlords in the

United States uses it in 98% of its properties. Every single property that uses market

seasonality is leveraging RealPage’s access to this highly sensitive, nonpublic data about

its competitors’ supply to inform pricing.

       150.   When activated, the market seasonality function changes unit-level prices

across the different possible lease terms regardless of whether the landlord accepts the

AIRM or YieldStar floor plan price recommendation.

       151.   Fueled by competitor data, expiration management results in “increased

stability” and “pricing power.” Using competitors’ data reduces the risk of overexposure

that “could erode rent roll growth.” By adjusting price recommendations based on how

much total supply is forecast in the market for a given time period, AIRM empowers

landlords to charge higher prices than they could without access to competitors’

nonpublic data.




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       E.     No Procompetitive Benefit Justifies, Much Less Outweighs, RealPage’s
              Use of Competitively Sensitive Data to Align Competing Landlords

       152.    AIRM and YieldStar do not benefit the competitive process or renters. Any

legitimate benefits of revenue management software can be achieved through less

anticompetitive means, and any theoretical additional benefits of AIRM and YieldStar are

not cognizable and outweighed by harm to the competitive process and to renters.

       153.    RealPage plans to remove LRO, a less restrictive alternative, from the

market. LRO does not inherently contain the same competitive defects as AIRM and

YieldStar. Unlike AIRM and YieldStar, LRO does not require the same type and quantity

of nonpublic, transactional data pulled from competitors’ property management software

or obtained from contacting competing landlords. RealPage has already stopped offering

LRO to new clients and plans to discontinue LRO for legacy clients by the end of 2024.

V.     REALPAGE USES LANDLORDS’ COMPETITIVELY SENSITIVE
       DATA TO MAINTAIN ITS MONOPOLY AND EXCLUDE
       COMMERCIAL REVENUE MANAGEMENT SOFTWARE
       COMPETITORS

       154.    Landlords are not the only ones that benefit from RealPage’s rental pricing

practices. RealPage benefits too through maintaining its monopoly over commercial

revenue management software for conventional multifamily housing rentals. In that

market, RealPage’s internal documents reflect that it commands an 80% share.

       155.    RealPage’s core value proposition creates a self-reinforcing feedback loop

of data and scale advantages. The sharing of competitively sensitive information among

rivals attracts more landlords that seek to maximize revenues and extract more money



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from renters. As a result of its exclusionary conduct, RealPage has been able to obstruct

rival software providers from competing on the merits via revenue management products

that do not harm the competitive process.

       156.    Over time, RealPage has become more entrenched and has stymied

alternatives unless they too enter into similar unlawful agreements with landlords to

obtain and use nonpublic transactional data to price units. Even then, RealPage’s

unparalleled troves of competitively sensitive data provide an ill-gotten advantage.

       A.     Landlords Are Drawn to RealPage Because of Access to Nonpublic
              Transactional Data That Is Used to Increase Landlords’ Revenue

       157.    Landlords prize RealPage’s accumulation of nonpublic transactional data

from competing landlords. For example, Landlord 1 noted that “RealPage supplies the

best set of transactional data available via their millions of units of data --- this becomes a

valuable source of truth to our competitive landscape.” In a training document for its

employees, the same landlord explained that “better data = better outcomes” and that

AIRM has “over 15 million units of data available.” From the perspective of Landlord 1,

“pricing decisions start with data” and that precision in pricing “comes from data driven

decisions.” Importantly, the landlord believed that AIRM’s ability to “examine data

quality . . . each night” via its property management software integrations, including

guest card entry, “plays an important role” in pricing.

       158.    As another example, Landlord 3 identified this data as especially helpful in

a dense market because of insights into competitors’ actions in the market. The same

landlord also concluded that the more data points, the better confidence a landlord has in


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RealPage’s rental recommendations. According to Landlord 3, more data—especially

data about concessions—enabled the landlord to make better decisions because it showed

the landlord where the market stood. Landlord 3’s director of revenue management

explained to a colleague that YieldStar “collects about 14 MILLION transactional lease

data across the US and has over 20 years of historical records.” The director

acknowledged that “[t]his is huge! Essentially, this is a window into the market and the

shifts we are going to experience . . . Having insight into this data, allows [landlords] to

make changes with the dynamic changes in the market.”

       159.   Landlord 2, who compared AIRM to another commercial revenue

management software product, noted that the competing product “is about half of the cost

and does a good job in reviewing rents and making recommendations but does it without

the additional reporting capabilities and market data that AIRM uses.” Ultimately, this

landlord decided to push their owner clients towards AIRM. The landlord’s decision to

use AIRM was in part based on receiving “more accurate and time sensitive data” and

noted that, although revenue management is not changing, “the amount of data and how

that information is used to grow revenue is bigger and better than ever” with AIRM.

       160.   Landlords want access to RealPage’s transactional data because RealPage

advertises, and landlords believe, that the use of this data will increase a landlord’s

revenue. “Due to the amount of data RealPage possesses,” Lessor 1 explained, RealPage

developed AIRM “to leverage machine learning to improve both the supply and demand

modeling and provide a tool to further customize to each asset’s needs.” The materials



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sent to the landlord’s clients also included a flyer explaining that AIRM will “outperform

the market 2-7% year over year” and that it provides “[a]ctionable intelligence derived

from the industry’s largest lease transaction database of 13M+ units.”

       B.     RealPage’s Collection and Use of Competitively Sensitive Data Excludes
              Competition in Commercial Revenue Management Software

       161.    RealPage recognizes the barriers to competition on the merits that its data,

scale, and business model provide. RealPage understands that “pricing decisions start

with data.” RealPage explains to its clients that “[t]he data entered into your [property

management software] and collected each night, along with current market data (and lead

data if OneSite) provides insight into advantageous demand drivers, identifies revenue

risk and opportunity, and captures this competitive landscape for informed pricing.”

       162.    This data and scale advantage is significant and creates a feedback loop that

further increases barriers to competition for commercial revenue management software.

RealPage touts its access to an “unmatched database.” In one case from 2023, a RealPage

sales representative noted that RealPage’s “revenue management is the most widely

adopted solution in the industry” and RealPage had “approximately 4.8M units on

revenue management.” In a 2023 presentation for AIRM, RealPage advertised that the

“[a]mount of data we have (~17mm units) is unique to RealPage” and that the “[q]uality

of data is best in class given that it is ‘Lease Transaction Data.’” RealPage claimed this

“supports that fact that the industry views RealPage as the source of truth for

performance data.”




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       163.   RealPage has used this competitively sensitive data to develop an AI-driven

revenue management solution that leverages the scale and scope of its data. RealPage’s

plan to use this database as fuel for its AI pricing model is spelled out in a Go-To-Market

summary from 2019. In that document, RealPage describes that:

       RealPage can achieve $10 Million in organic ACV growth through delivery
       of the next generation of revenue management. Failure to do so reduces the
       opportunity to harvest gains from our $300M investment in LRO and places
       a portion of current $100M revenue management revenue at risk to emerging
       competitors, including Yardi and low-cost alternatives that say ‘all revenue
       management is the same.’ Over time we can sunset YieldStar and LRO
       reducing expense, and leverage LRO capabilities as a revenue management
       lite offering.
       164.   This plan came to fruition with the introduction of AIRM. In a RealPage

training presentation from February 2020—right before the launch of AIRM—RealPage

discusses a new optimization solution that is built on the “RealPage Foundation” which is

defined as “13.5m units of lease transactional data informing our models with real

actionable intelligence in near real time.” As described earlier in the deck, RealPage’s

competitors “lack the foundational capabilities on which to build upon” leaving RealPage

with the possibility “to tie together each capability . . . in a single view.”

       165.   RealPage knows that its rivals do not have access to similar data sets. In

one presentation from 2022, RealPage discussed competing revenue management

products from Yardi and Entrata. Yardi and Entrata have fewer than 250,000 units,

RealPage concluded, while RealPage had at least 4 million. Unlike RealPage, Yardi had a

limited data set that used data only from Yardi’s property management software.




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RealPage likewise explained that Entrata lacked much data outside of student housing

and Entrata’s revenue management software worked only with its own property

management software, meaning Entrata could not pull data from RealPage’s OneSite or

other property management software products. RealPage further criticized manual in-

house pricing options for having biased data, introducing errors through manual pricing,

and being inefficient.

       166.   In June 2023 a landlord emailed RealPage and asked, “who are your

competitors?” A RealPage sales executive responded, “Our revenue management solution

does not have any true competitors, mainly because our data is based on real lease

transaction data from all kinds of third-party property management systems . . . .”

       167.   In addition, when discussing a potential entrant, a RealPage executive noted

that the entrant needed “to get the data to enable [revenue management].” He further

noted that [g]etting the data (and more modern methods) … will be hurdles for [the

entrant].” Another RealPage senior executive explained that shifting clients from LRO,

which is less reliant on competitively sensitive information of rivals, to AIRM, which is

very reliant on such information, reduced the threat from new entry when she noted that

migrating LRO clients to AIRM was “critical to reducing the risk that may come from

this new [entrant’s] offering.”

       168.   RealPage’s power and conduct in connection with commercial revenue

management software serves to exclude rivals. RealPage has ensured rivals cannot

compete on the merits unless they enter into similar agreements with landlords, offer to



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share competitively sensitive information among rival landlords, and engage in actions to

increase compliance. As a result of its exclusionary conduct, RealPage has been able to

obstruct rival software providers from competing via revenue management products that

do not harm the competitive process in addition to cementing its massive data and scale

advantage that keeps increasing due to feedback effects.

VI.       RELEVANT MARKETS

          A.     Conventional Multifamily Rental Housing Markets

                  1. Product Markets

          169.    Conventional multifamily rental housing is a relevant product market.

Conventional multifamily rental housing includes apartments available to the general

public in properties that have five or more living units. Conventional rental housing does

not include student housing, affordable housing, age-restricted or senior housing, or

military housing. This product market reflects consumer preferences, industry practice,

and governmental policy.

          170.    In 2023, RealPage estimated the conventional multifamily rental market to

cover approximately 14 million units. The 2021 American Housing Survey estimated a

total of 21.1 million multifamily apartments—not limited to conventional—in the United

States.

                        a) Conventional Multifamily Rentals Are Distinct From Other
                           Types of Multifamily Housing

          171.    Other types of multifamily apartment buildings are not good substitutes for

conventional multifamily rentals. Some kinds of multifamily buildings are restricted to


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specific types of renters, such as student housing units, affordable housing units (i.e.,

income-restricted housing), senior (i.e., age-restricted) housing, and military housing.

These housing units focused on different classes of renters are not reasonable substitutes

for conventional multifamily rentals. RealPage distinguishes conventional multifamily as

being in a different market segment from senior, affordable, and student housing in the

ordinary course of business.

       172.   Non-conventional units are not widely available to all renters and can

exhibit different buying patterns. For example, student housing serves individuals

enrolled in higher education and is typically located on or near universities. Student

housing is typically leased by the bed instead of by unit, and faces a significantly

different leasing cycle and different patterns in renewals and leasing practices.

Recognizing these differences, RealPage will assign to student properties surrogates that

are distant student assets rather than nearby conventional assets. RealPage in fact offers a

different version of both AIRM and OneSite, its property management software, for the

“student market.”

       173.   Affordable housing units are available only to individuals or households

whose income falls below certain thresholds. Multiple federal affordable housing

regulations, for example, require participants in affordable housing programs to have

incomes lower than a set percentage, such as 30%, of the median family income in the

local area. Affordable housing units are also relatively scarce, with families seeking such

housing often waiting years on a waitlist. These legal and practical restrictions prevent



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affordable housing from being a reasonable substitute to conventional multifamily

housing for the typical renter.

       174.   Senior housing is typically restricted to individuals aged 55 and older.

RealPage separates senior housing into four categories: independent living, assisted

living, memory care, and nursing care. Independent living offers senior-focused

amenities—such as transportation, meals, and social gatherings among community

members—that materially increase housing costs and are less desirable to younger

households. The other three categories of senior housing provide professional or special

care to assist renters with basic tasks like eating, bathing, and dressing, and they are not

reasonable substitutes for conventional multifamily rentals.

       175.   Military housing is also not a reasonable substitute to conventional

multifamily rentals. It is typically geographically proximate to military installations, with

roughly 95% of military housing found on-base. Although civilians may in some cases be

able to live in military housing properties experiencing low occupancy rates, military

regulations place them below five higher-priority categories of potential renters,

including active and retired military personnel.

                     b) Single-Family Housing Is Not A Reasonable Substitute to
                        Multifamily Rentals

       176.   The multifamily industry, government regulators, and policy documents

distinguish between properties with at least five units, which are classified as

“multifamily housing” and those with fewer units, which are classified as “single-family

rentals.”


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       177.   The purchase of single-family homes is not a reasonable substitute for

conventional multifamily housing rentals. A former RealPage economist explained that

“the choice between renting and owning is first and foremost a life stage and lifestyle

choice over a financial one.” Single-family homes also generally require a substantial

down payment. In March 2023, a RealPage economist estimated an “entry premium” of

$800 per month to home ownership over rentals. According to a 2021 RealPage strategic

planning guide, the “myth” that people were abandoning multifamily properties for

single-family homes is false, stating that “rising home sales do not hurt apartment

demand.” Single-family home sales are not reasonable substitutes for conventional

multifamily housing.

       178.   More broadly, renters living in conventional multifamily apartments will

not switch to single-family homes—purchases or rentals—because of a small increase in

rent. The decision to move from an apartment building to a single-family home is

primarily a life-stage and lifestyle choice. For example, the decision by a household to

have children may spur a move to a single-family home. In many areas, relatively few

children live in conventional multifamily apartments. Multifamily apartments typically

offer community amenities and a different lifestyle, such as high walkability in an urban

area, whereas single-family homes generally do not offer the same amenities and offer

instead increased privacy, including private yards. A RealPage analyst explained in 2022

that because a move to a single-family home is a “lifestyle choice,” single-family home

rentals were not direct competitors to multifamily rental housing. A 2022 RealPage deck,



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shared with a landlord, stated that multifamily rentals and single-family rentals were

“complementary, not competitive,” and targeted different renters, with different floor

plans, in different locations. Another RealPage analyst explained to a multifamily

property owner that single-family rentals offer a different renter profile than multifamily

rentals.

       179.   Industry participants agree that single-family rentals attract a different pool

of renters from multifamily rentals. A managing director of a single-family rental

property management company explained in 2021 that a renter’s journey from

multifamily apartment living to single-family rentals came as life stages evolved. The

CEO of a single-family rental developer similarly explained that these single-family

rental homes are for renters who age out of multifamily apartments.

       180.   Single-family rentals are also typically priced higher than multifamily

apartments, further reducing potential substitution between them. The chairman of one

institutional multifamily property owner explained in a 2022 earnings call that

multifamily housing was relatively affordable compared to single-family rentals. An

industry price index showed that, in March 2024, single-family rent was approximately

18% higher than multifamily rent.

                     c) Conventional Multifamily Rental Units With Different Bedroom
                        Counts Are Relevant Product Markets

       181.   Different bedroom floor plans also constitute relevant product markets. A

key criterion by which a current or prospective renter searches for a rental unit is the

number of bedrooms. One-bedroom units are substitutes for other one-bedroom units,


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two-bedroom units are substitutes for other two-bedroom units, and so forth. Individual

renters may change their desired numbers of bedrooms, but this is typically tied to

changes in circumstance independent from price. For example, the birth of a new child

may require a family to shift from a one-bedroom unit to a two-bedroom unit.

       182.   RealPage adopts this practical reality in the ordinary course of business. For

every property using AIRM or YieldStar, RealPage maps peer floor plans. These mapped

floor plans capture reasonable substitutes for the subject property floor plan and reflect

the perceived market by a prospective renter.

       183.   To be selected as a peer, a floor plan must have the same number of

bedrooms. A RealPage employee explained the mapping process to a client: “we are

looking specifically at the bedroom level. The tool will only map 2b[edroom] with

2b[edroom] or 1b[edroom] with 1b[edroom].” The object of mapping peers is to mirror

the prospect buying experience by identifying properties that a potential tenant will see in

online searches when searching for a particular floor plan and price range.




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       184.   AIRM and YieldStar price the different floor plans, which consist of

different numbers of bedrooms, independently. RealPage testified that the model

considers no cross-price elasticity between different floor plans: “when you set up the

different floor plans, a one bedroom, a two bedroom, or three bedroom, those are

completely independent. . . . [T]here’s no influence in what the pricing is for the two

bedrooms, for example . . . has no influence on what the pricing is for the one bedrooms.”

Landlords also take steps to maintain a pricing spread between one- and two-bedroom

units and avoid pricing one-bedrooms at a higher rate than two-bedroom units.

       185.   Landlords recognize that units with different bedroom counts face different

demand from renters. For example, Landlord 1 explained internally in 2022 that demand

for studio apartments differs from demand for three-bedroom units. A separate 2023

training by Landlord 1 reiterated that demand trends, and therefore pricing trends, differ


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by bedroom counts and that staff should not react to a downward trend in one category,

such as two bedrooms, with discounts in one- or three-bedroom units. A revenue manager

at Landlord 2 similarly explained to colleagues that one-bedroom units have drastically

different demand patterns from two-bedroom units and from three-bedroom units.

              2. Geographic Markets

       186.   Defining relevant geographic markets help courts assess the potential

anticompetitive impact of the agreements challenged. Here, the relevant geographic

markets for the purposes of analyzing the anticompetitive effects of RealPage’s

agreements with landlords are the areas in which the sellers (the landlords) sell and in

which the purchasers (potential renters) can practicably turn for alternatives. RealPage’s

agreements are alleged to have suppressed price competition in the markets for

conventional multifamily housing. The relevant geographic markets to assess those

agreements are those property locations close enough for their apartments to be

considered reasonable substitutes. In delineating a geographic market for conventional

multifamily housing, the focus is inherently local. Renters are typically tied to a

particular location for work, family, or other needs.

       187.   RealPage recognizes the local nature of geographic markets. One RealPage

former employee explained that under “Real Estate 101 rules, real estate is local, local,

local.” Another RealPage former chief economist noted that an effective evaluation of a

property’s performance must be done in comparison to similar properties in the

property’s neighborhood because competitive conditions in the neighborhood could differ



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widely from the city at large. Similarly, a former property manager explained that

potential tenants will look at a small number of properties in the same neighborhood, and

it is on that neighborhood level where competition occurs among multifamily properties.

This individual testified, “location really does matter in real estate.”

       188.   RealPage has created a tool called True Comps. Used in performance

benchmarking products that provide decisional support to AIRM and YieldStar, True

Comps provides a more accurate mapping of competitor properties. It uses an algorithm

to find the properties most comparable to the subject property, as measured by

characteristics including distance, effective rent, age, property height, and unit count and

mix. By default, True Comps picks competitors within a 15-mile radius. In scoring

distance, True Comps applies a “highly-punitive model”—the distance score drops from

99% for a distance of 0.05 miles, to 56% for a distance of 2 miles, and to 10% for a

distance of 8 miles. Thus, RealPage acknowledges and incorporates small geographic

areas as the appropriate location in which to find true competitive alternatives.

       189.   During a property’s implementation process, AIRM and YieldStar require

the mapping of peer properties, including competitors. RealPage starts by looking for

competitors within a half-mile radius from the subject property and then expands as

necessary. Geographic proximity is in fact so important that YieldStar has a default

radius that limits its search for competing properties to no more than 5 miles in urban

settings, and to no more than 10 miles in suburban settings. RealPage has an internal

process for escalating any proposed peer property that is more than 15 miles away.



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                     a) RealPage-Defined Submarkets Identify Relevant Geographic
                        Markets

       190.   RealPage defines geographic submarkets in the ordinary course of business.

Each submarket reflects the geographic area, defined by a set of zip codes, that features

similar properties that compete for the same pool of potential renters. In constructing

submarkets, which are generally larger than its neighborhoods, RealPage considers major

roads, city and county boundaries, and school districts. RealPage also considers

socioeconomic factors and apartment market characteristics, such as the age of properties

and rental rates.

       191.   Even within a city, apartment demand varies significantly based on factors

such as employment. Supply may also vary widely as existing properties and new

construction may be located in different parts of a city. A former RealPage chief

economist explained that because “real estate is very local . . . you typically want to take

a . . . more narrow view if you can on what’s going on in any given submarket.”9

       192.   The multifamily industry recognizes submarkets as an important

geographic area for analyzing competition and pools of renters. Multiple industry

analysts offer data by submarkets. A revenue management director at Landlord 1 testified

about a submarket that “everybody in our industry uses this term.” She further stated that

submarkets are a standard categorization system, used by RealPage and others, including

to benchmark a subject property’s performance with comparable properties. A revenue


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  RealPage also tracks data at a more granular level than a submarket, called a
neighborhood.


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manager at Landlord 3 circulated a scorecard comparing performance to the submarket,

and exclaimed that “we’re perfectly aligned with the submarket” on rent roll.

       193.   A revenue management executive at Landlord 2 testified that submarkets

identify specific, smaller areas of a city where renters look to live to be close to schools

or work. This executive testified that submarkets typically identify the area within which

a renter is comparing apartment options. This landlord tracks other properties’ rents in a

subject property’s submarket to make sure the subject property remains competitive, and

if rents in a submarket increased, then the landlord expected that its property in that

submarket would also raise its rents.

       194.   Appendix A lists RealPage-defined submarkets that identify relevant local

markets in which the agreements among RealPage and landlords to share nonpublic,

competitively sensitive information for use in pricing conventional multifamily rentals

have harmed, or are likely to harm, competition and thus renters.

       195.   The RealPage-defined submarkets identified in Appendix A are relevant

markets in which the agreements between RealPage and AIRM and YieldStar users to

align pricing has harmed, or is likely to harm, competition and thus renters. In each of

these markets, the penetration rate for at least (i) AIRM and YieldStar, or (ii) AIRM,

YieldStar, and OneSite ranges from at or around 29% to more than 60%.10 In each of



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   Including penetration rates for RealPage’s Business Intelligence and Performance
Analytics with Benchmarking products, which landlord users agree to share nonpublic data
with RealPage that RealPage then uses in AIRM and YieldStar, would increase the data


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these markets, the landlords using AIRM or YieldStar and/or sharing competitively

sensitive information have market power.

       196.   Appendix B identifies submarkets by bedroom count that are relevant

markets in which the agreements between RealPage and landlords, and agreements

among landlords, to share nonpublic, competitively sensitive information for use in

pricing conventional multifamily rentals have harmed, or are likely to harm, competition

and thus renters.

       197.   The markets identified in Appendix B are relevant markets in which the

agreements between RealPage and landlords to align pricing has harmed, or is likely to

harm, competition and thus renters. In each of these markets, the penetration rate for at

least (i) AIRM and YieldStar, or (ii) AIRM, YieldStar, and OneSite ranges from at or

around 28% to over 80%. In each of these markets, the landlords using AIRM or

YieldStar and/or sharing competitively sensitive information have market power.

                     b) Core-Based Statistical Areas (CBSAs) Are Relevant Geographic
                        Markets

       198.   A core-based statistical area (CBSA) is also a relevant geographic market.

A CBSA is a geographic area based on a county or group of counties. A CBSA has at

least one core of at least 10,000 individuals. A CBSA includes adjacent counties that

have a high degree of social and economic integration with the core, as measured by

commuting ties. A CBSA includes both metropolitan statistical areas and micropolitan


penetration rates subject to unlawful agreements for these and all other relevant
conventional multifamily rental housing markets identified in the Complaint.


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statistical areas. A CBSA includes the set of reasonable conventional multifamily rental

alternatives to which a renter would turn in response to a small but significant,

nontransitory price increase.

       199.   RealPage itself tracks CBSAs in the ordinary course of business and refers

to them as “markets.”

       200.   Table 1 identifies relevant markets in which the agreements between

RealPage and landlords, and agreements among landlords, to share nonpublic,

competitively sensitive information for use in pricing conventional multifamily rentals

have harmed, or are likely to harm, competition and/or consumers. In each of these

markets, the penetration rate for at least (i) AIRM and YieldStar, or (ii) AIRM, YieldStar,

and OneSite ranges from at or around 29% to 38%. Three of these markets are located in

North Carolina.

                  Table 1: Core-Based Statistical Area (CBSA) Markets

                        Core-Based Statistical Area (CBSA) Markets
                        Atlanta-Sandy Springs-Roswell, GA
                        Austin-Round Rock, TX
                        Charleston-North Charleston, SC
                        Charlotte-Concord-Gastonia, NC-SC
                        Dallas-Fort Worth-Arlington, TX
                        Denver-Aurora-Lakewood, CO
                        Durham-Chapel Hill, NC
                        Nashville-Davidson--Murfreesboro--Franklin,
                        TN
                        Orlando-Kissimmee-Sanford, FL
                        Raleigh, NC




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        201.   The markets identified in Table 1 are relevant markets in which the

agreements between RealPage and landlords to align pricing have harmed, or is likely to

harm, competition and thus renters.

        202.   Table 2 identifies relevant CBSAs by bedroom counts that are relevant

markets in which the agreements between RealPage and landlords, and agreements

among landlords, to share nonpublic, competitively sensitive information for use in

pricing conventional multifamily rentals have harmed, or are likely to harm, competition

and/or consumers. In each of these markets, the penetration rate for at least (i) AIRM and

YieldStar, or (ii) AIRM, YieldStar, and OneSite ranges from at or around 27% to nearly

40%.

       Table 2: Core-Based Statistical Area (CBSA) Markets by Bedroom Count
                                                                  No. of
                Core-Based Statistical Area (CBSA) Markets
                                                                 Bedrooms
                Atlanta-Sandy Springs-Roswell, GA                    1
                Atlanta-Sandy Springs-Roswell, GA                    2
                Austin-Round Rock, TX                                1
                Austin-Round Rock, TX                                2
                Charleston-North Charleston, SC                      1
                Charleston-North Charleston, SC                      2
                Charlotte-Concord-Gastonia, NC-SC                    1
                Charlotte-Concord-Gastonia, NC-SC                    2
                Dallas-Fort Worth-Arlington, TX                      1
                Dallas-Fort Worth-Arlington, TX                      2
                Denver-Aurora-Lakewood, CO                           1
                Denver-Aurora-Lakewood, CO                           2
                Durham-Chapel Hill, NC                               1
                Durham-Chapel Hill, NC                               2
                Nashville-Davidson--Murfreesboro--Franklin,
                                                                       1
                TN



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                                                                   No. of
                Core-Based Statistical Area (CBSA) Markets
                                                                  Bedrooms
                Nashville-Davidson--Murfreesboro--Franklin,
                                                                       2
                TN
                Orlando-Kissimmee-Sanford, FL                          1
                Orlando-Kissimmee-Sanford, FL                          2
                Raleigh, NC                                            1
                Raleigh, NC                                            2


       203.    The markets identified in Table 2 are relevant markets in which the

agreements between RealPage and landlords to align pricing have harmed, or is likely to

harm, competition and thus renters.

       204.    Even assuming available land and no regulatory constrictions, local markets

for conventional multifamily rental housing feature substantial barriers to entry.

Landlords seeking to respond to rising rental prices by expanding supply, rather than

simply acquiring an existing property, typically face substantial lead times to construct a

new multifamily property. Additionally, there are significant upfront capital costs,

including to fund expenditures on building material and labor, that are recuperated over

time, which may require landlords to secure financing.

       B.     Commercial Revenue Management Software Market

       205.    RealPage has monopoly power in the market for commercial revenue

management software for conventional multifamily housing rentals in the United States,

with a market share over 80%, according to internal documents and other information.




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              1. Product Market

       206.   Commercial revenue management software for conventional multifamily

housing rentals is a relevant antitrust product market.

       207.   Other methods for pricing conventional multifamily housing units are not

reasonable substitutes for commercial revenue management software. RealPage and

others in the industry recognize that revenue management software companies for

multifamily housing units compete primarily against each other and not do-it-yourself

pricing methods.

       208.   Internal documents from RealPage refer specifically to commercial revenue

management for multifamily housing and recognize RealPage’s substantial market share.

For example, a 2021 strategy presentation described RealPage as “the market leader in

commercial revenue management for multifamily [housing] with 45 of the 50 Top

NMHC Owner and Operators” all using RealPage’s revenue management products.

       209.   A presentation to RealPage’s board in 2022 noted that “[RealPage] has

gained [the] pole position in Revenue Management largely through the success of AI

Revenue Management, which has become RealPage’s leading differentiating product.”

Additionally, the presentation described how “Revenue Management is experiencing

strong growth driven by AIRM” due to its “PMS agnostic approach” which gives

RealPage the ability to aggregate data from its clients resulting in “revenue management

[that] has achieved a market share of 95% of the top 50 owners and operators.”




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       210.   Likewise, a 2023 RealPage presentation reviewing the use of artificial

intelligence in property technology noted that “RealPage is already the de facto market

leader in certain key areas at leveraging AI for multifamily proptech” and shows

“revenue management” as the area where it is the furthest ahead.” Later, the same

presentation noted that RealPage’s current offer for revenue management is “best-in-

class” and that “[n]o other company is cross-pollinating their pricing tools with data in a

way similar to [RealPage].”

       211.   Landlords also recognize RealPage’s substantial market share. In a 2023

pricing dispute with a large landlord, RealPage refused to lower the price for its AIRM

software. In response, an employee employed by the landlord noted that it was no

surprise they would not decrease their price remarking that “[h]ere is the joy of a

monopoly on a product category.” Around the same time in 2023, during a sales pitch to

a property owner, a RealPage representative noted that “[RealPage] has 80% to 85% of

the market share with the closest competitor around 12% (<750K units).”

              2. Geographic Market

       212.   The United States is a relevant geographic market for commercial revenue

management software. RealPage sells its commercial revenue management software in

the United States and tracks its business in the United States in the ordinary course of

business. RealPage sets its subscription prices on a nationwide basis. Further, RealPage

can deploy its commercial revenue management software, which may use inputs from

properties located throughout the country, in any U.S. state. Landlords in the United



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States purchase commercial revenue management software from RealPage to set rental

prices for renters in the United States. Many landlords have centralized revenue

management teams that set nationwide revenue management policies and conduct

revenue management trainings for their employees across the United States.

VII. JURISDICTION, VENUE, AND COMMERCE

       213.   The United States brings this action pursuant to Section 4 of the Sherman

Act, 15 U.S.C. § 4, to prevent and restrain RealPage’s violations of Sections 1 and 2 of

the Sherman Act, 15 U.S.C. §§ 1, 2.

       214.   The Attorneys General assert these claims based on their independent

authority to bring this action pursuant to Section 16 of the Clayton Act, 15 U.S.C. § 26,

and common law, to obtain injunctive and other equitable relief based on RealPage’s

anticompetitive practices in violation of Sections 1 and 2 of the Sherman Act, 15 U.S.C.

§§ 1, 2.

       215.   The Attorneys General are the chief legal officers of their respective States.

They have authority to bring actions to protect the economic well-being of their States

and their residents, and to seek injunctive relief to remedy and protect against harm

resulting from violations of the antitrust laws.

       216.   This Court has subject matter jurisdiction over this action under Section 4

of the Sherman Act, 15 U.S.C. § 4, and 28 U.S.C. §§ 1331, 1337(a), and 1345.




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       217.   The Court has personal jurisdiction over RealPage; venue is proper in this

District under Section 12 of the Clayton Act, 15 U.S.C. § 22, and under 28 U.S.C. § 1391

because RealPage transacts business and resides within this District.

       218.   RealPage is a privately-owned company organized and existing under the

laws of the State of Delaware and is headquartered in Richardson, Texas. It is registered

to do business in the State of North Carolina as a foreign corporation offering software

solutions for the multifamily housing industry and software as a service.

       219.   RealPage engages in, and its activities substantially affect, interstate trade

and commerce. RealPage provides a range of products and services that are marketed,

distributed, and offered to consumers throughout the United States and across state lines.

       220.   The Durham-Chapel Hill CBSA is partially or entirely within the Middle

District of North Carolina.

       221.   RealPage tracks the number of rental housing units that use its commercial

revenue management software products, including AIRM and YieldStar, by market (i.e.,

a CBSA) and submarket, and several of these markets and submarkets are entirely or

partially within North Carolina. These RealPage-defined markets include

Raleigh/Durham, NC; Charlotte–Concord–Gastonia, NC–SC; Greensboro/Winston-

Salem, NC; Wilmington, NC; Fayetteville, NC; and Asheville, NC. The submarkets

include Southwest Durham, Northwest Durham/Downtown, and Chapel Hill/Carrboro,

all of which are located entirely or partially within this District.




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       222.   Landlord 1, Landlord 2, Landlord 3, Landlord 4, Landlord 5, and Landlord

6 each own or manage one or more properties in the Middle District of North Carolina for

which they agree to share information and align pricing by using AIRM or YieldStar to

generate rental pricing using pooled, competitively sensitive information.

       223.   A substantial part of the activities and conduct giving rise to the claims

asserted in this Complaint occurred within this District. As alleged in paragraphs 194–

197 above and Appendix A below, relevant local geographic markets in which

competition and renters have been harmed by RealPage’s anticompetitive conduct

include the RealPage-defined submarkets in Raleigh/Durham. As alleged in paragraphs

200–203 above, relevant geographic markets in which competition and renters have been

harmed by RealPage’s anticompetitive conduct include the Durham–Chapel Hill CBSA.

VIII. VIOLATIONS ALLEGED

    First Claim for Relief: Violation of Section 1 of the Sherman Act by Unlawfully
                 Sharing Information for Use in Competitors’ Pricing

       224.   Plaintiffs incorporate the allegations of paragraphs 1 through 223 above.

       225.   Each landlord using AIRM and YieldStar has agreed with RealPage to

provide RealPage daily nonpublic, competitively sensitive data. RealPage invites each

landlord to share this information so that it can be pooled to generate pricing

recommendations for the landlord and its competitors. Each of these landlords uses

RealPage software, knowing or learning that RealPage will use this data to train its

models and provide floor plan price recommendations and unit-level pricing not only for

the landlord, but for the landlord’s competitors (and vice versa). Landlords are therefore


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joining together in a way that deprives the market of fully independent centers of

decision-making on pricing.

       226.   Each landlord using OneSite, Business Intelligence, or Performance

Analytics with Benchmarking has agreed with RealPage to provide RealPage daily

nonpublic, competitively sensitive data. RealPage invites each landlord to share this

information, and each of these landlords understands that RealPage will use this data in

RealPage’s other products, including revenue management products.

       227.   The transactional data these landlords agree to provide to RealPage, and

indirectly to each other, includes current, forward-looking, granular, and highly

competitively sensitive information. It includes information on effective rents, rent

discounts, occupancy rates, availability, lease dates, lease terms, unit amenities, and unit

layouts. Landlords also shared information on guest cards and lease applications.

       228.   Landlords, including landlords that compete with each other in the relevant

markets alleged, have agreed with one another, through RealPage and directly, to

exchange nonpublic, competitively sensitive data, both through RealPage’s revenue

management software and by other means. The other means include RealPage user

groups, direct communications, market surveys, and other intermediaries. The

information exchanged includes future pricing plans, current pricing and occupancy rates,

pricing discounts, and guest traffic.

       229.   RealPage uses this nonpublic, competitively sensitive data to train its

AIRM models and provide floor plan price recommendations and unit-level pricing to



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AIRM- and YieldStar-using landlords. AIRM and YieldStar are designed to increase

prices as much as possible and minimize price decreases.

       230.   RealPage engages in a variety of conduct to increase compliance with the

output of its products and the objectives it touts.

       231.   The sharing of nonpublic, competitively sensitive data with RealPage, and

its use in AIRM and YieldStar, is anticompetitive. It harms or is likely to harm the

competitive process and results, or is likely to result, in harm to renters and prospective

renters in at least the relevant antitrust markets identified in this complaint.

       232.   In each relevant market, RealPage and participating landlords have

sufficient market power, including market and data penetration, to harm the competitive

process and renters.

       233.   AIRM and YieldStar do not benefit the competitive process or renters. Any

theoretical benefits are outweighed by harm to the competitive process and to renters.

       234.   Less restrictive alternatives are available to RealPage and the market.

RealPage’s LRO product, for example, does not use competitors’ nonpublic,

competitively sensitive data in the same way and to the same extent as AIRM and

YieldStar. RealPage has recently altered AIRM or YieldStar for a small number of clients

to remove those clients’ access to competitors’ nonpublic data in at least certain portions

of the model. RealPage has the ability to make changes to remove broader access to

competitors’ nonpublic data in AIRM and YieldStar.




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 Second Claim for Relief: Violation of Section 1 of the Sherman Act Through Vertical
                    Agreements with Landlords to Align Pricing

       235.    Plaintiffs incorporate the allegations of paragraphs 1 through 234 above.

       236.    Each landlord that licenses AIRM or YieldStar has agreed with RealPage to

use the software. This includes providing nonpublic, competitively sensitive transactional

data to RealPage, but more broadly is an agreement to use AIRM or YieldStar as the

means to price the landlord’s rental units. The landlord agrees to review AIRM or

YieldStar floor plan price recommendations, use AIRM or YieldStar to set a scheduled

floor plan rent, and use the AIRM or YieldStar pricing matrix to price units to renters.

       237.    AIRM and YieldStar are designed to “raise the tide” for all landlords,

including AIRM- and YieldStar-using landlords. AIRM and YieldStar have the likely

effect of aligning users’ pricing processes, strategies, and pricing responses.

       238.    These landlords understand this effect, and it is a reason why they sign up

for and use AIRM or YieldStar and discuss their usage with one another in user group

meetings and other settings.

       239.    RealPage engages in a variety of conduct to increase compliance with the

output of its products and the objectives it touts.

       240.    The agreement between each AIRM or YieldStar landlord and RealPage to

use AIRM or YieldStar, respectively, harms or is likely to harm the competitive process

and renters.




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       241.   The agreement by a landlord to use AIRM or YieldStar is an agreement to

align users’ pricing processes, strategies, and pricing responses. It is harmful to the

competitive process and to renters.

       242.   In each relevant submarket and CBSA, RealPage and participating AIRM

or YieldStar landlords have sufficient market power, including market and data

penetration, to harm the competitive process and renters.

       243.   AIRM and YieldStar do not benefit the competitive process or renters. Any

theoretical benefits are outweighed by harm to the competitive process and to renters, and

less restrictive alternatives are available to RealPage and these landlords.

      Third Claim for Relief: Violation of Section 2 of the Sherman Act Through
      Monopolization of the Commercial Revenue Management Software Market
       244.   Plaintiffs incorporate the allegations of paragraphs 1 through 243 above.

       245.   Commercial revenue management software for conventional multifamily

housing rentals in the United States is a relevant antitrust market, and RealPage has

monopoly power in that market.

       246.   RealPage has unlawfully monopolized the commercial revenue

management market through unlawful exclusionary conduct. RealPage has amassed a

massive reservoir of competitively sensitive data from competing landlords. RealPage

has ensured that rivals cannot compete on the merits unless they enter into similar

agreements with landlords, offer to share competitively sensitive information among rival

landlords, and engage in actions to increase compliance. As a result of its exclusionary

conduct, RealPage has been able to obstruct rival software providers from competing via


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revenue management products that do not harm the competitive process in addition to

cementing its massive data and scale advantage that keeps increasing due to self-

reinforcing feedback effects.

       247.   RealPage’s anticompetitive acts have harmed the competitive process and

renters.

       248.   RealPage’s exclusionary conduct lacks a procompetitive justification that

offsets the harm caused by RealPage’s anticompetitive and unlawful conduct.

Fourth Claim for Relief, in the Alternative: Violation of Section 2 of the Sherman Act
   Through Attempted Monopolization of the Commercial Revenue Management
                                   Software Market
       249.   Plaintiffs incorporate the allegations of paragraphs 1 through 248 above.

       250.   Commercial revenue management software for conventional multifamily

housing rentals in the United States is a relevant antitrust market.

       251.   RealPage has attempted to monopolize that market through unlawful

exclusionary conduct enhanced by its self-reinforcing data and scale advantages. By

amassing its massive reservoir of competitively sensitive data from competing landlords

and the follow-on benefits that scale and its feedback effects provide in terms of blunting

competition among landlords, RealPage’s conduct excludes commercial revenue

management rivals from competing on the merits in a lawful manner. As such, it has

increased, maintained, or protected RealPage’s power.

       252.   RealPage’s anticompetitive acts have harmed the competitive process and

renters.



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       253.   RealPage has acted with a specific intent to monopolize, and to eliminate

effective competition in, the commercial revenue management software market in the

United States. There is a dangerous probability that, unless restrained, RealPage will

succeed in monopolizing the commercial revenue management software market in

violation of Section 2 of the Sherman Act.

IX.    REQUEST FOR RELIEF

       254.   To remedy these illegal acts, Plaintiffs request that the Court:

              a.     Adjudge and decree that RealPage has acted unlawfully to restrain

                     trade in conventional multifamily rental housing markets across the

                     United States in violation of Section 1 of the Sherman Act,

                     15 U.S.C. § 1;

              b.     Adjust and decree that RealPage has acted unlawfully to

                     monopolize, or attempt to monopolize, the commercial revenue

                     management software market in the United States in violation of

                     Section 2 of the Sherman Act, 15 U.S.C. § 2;

              c.     Enjoin RealPage from continuing to engage in the anticompetitive

                     practices described herein and from engaging in any other practices

                     with the same purpose and effect as the challenged practices;

              d.     Enter any other preliminary or permanent relief necessary and

                     appropriate to restore competitive conditions in the markets affected

                     by RealPage’s unlawful conduct;



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        e.    Enter any additional relief the Court finds just and proper; and

        f.    Award Plaintiffs an amount equal to their costs, including reasonable

              attorneys’ fees, incurred in bringing this action.




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Dated this 23rd day of August, 2024.

Respectfully submitted,

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                       APPENDIX A: SUBMARKETS

                   Area                                 Submarket
Anaheim-Santa Ana-Irvine, CA                South Orange County
Atlanta-Sandy Springs-Roswell, GA           Alpharetta/Cumming
Atlanta-Sandy Springs-Roswell, GA           Briarcliff
Atlanta-Sandy Springs-Roswell, GA           Buckhead
Atlanta-Sandy Springs-Roswell, GA           Chamblee/Brookhaven
Atlanta-Sandy Springs-Roswell, GA           Duluth
Atlanta-Sandy Springs-Roswell, GA           Dunwoody
Atlanta-Sandy Springs-Roswell, GA           Kennesaw/Acworth
Atlanta-Sandy Springs-Roswell, GA           Midtown Atlanta
Atlanta-Sandy Springs-Roswell, GA           Norcross
Atlanta-Sandy Springs-Roswell, GA           Northeast Cobb/Woodstock
Atlanta-Sandy Springs-Roswell, GA           Roswell
Atlanta-Sandy Springs-Roswell, GA           Sandy Springs
Atlanta-Sandy Springs-Roswell, GA           Smyrna
Atlanta-Sandy Springs-Roswell, GA           Southeast Gwinnett County
Atlanta-Sandy Springs-Roswell, GA           Southeast Marietta
Atlanta-Sandy Springs-Roswell, GA           Southwest Atlanta
Atlanta-Sandy Springs-Roswell, GA           Vinings
Austin-Round Rock, TX                       Arboretum
Austin-Round Rock, TX                       Cedar Park
Austin-Round Rock, TX                       Far South Austin
Austin-Round Rock, TX                       Far West Austin
Austin-Round Rock, TX                       Near North Austin
Austin-Round Rock, TX                       Northwest Austin
Austin-Round Rock, TX                       Pflugerville/Wells Branch
Austin-Round Rock, TX                       South Austin
Austin-Round Rock, TX                       Southwest Austin
Baltimore-Columbia-Towson, MD               Columbia/North Laurel
Birmingham-Hoover, AL                       Southeast Birmingham
Boston-Cambridge-Newton, MA-NH              Chelsea/Revere/Charlestown
Boston-Cambridge-Newton, MA-NH              West Norfolk County
Charleston-North Charleston, SC             Downtown/Mount Pleasant/Islands
Charleston-North Charleston, SC             West Ashley
Charlotte-Concord-Gastonia, NC-SC           Ballantyne
Charlotte-Concord-Gastonia, NC-SC           Huntersville/Cornelius
Charlotte-Concord-Gastonia, NC-SC           Myers Park
Charlotte-Concord-Gastonia, NC-SC           South Charlotte


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                    Area                                 Submarket
Charlotte-Concord-Gastonia, NC-SC            UNC Charlotte
Charlotte-Concord-Gastonia, NC-SC            Uptown/South End
Colorado Springs, CO                         North Colorado Springs
Columbus, OH                                 Gahanna/Northeast Columbus
Dallas-Plano-Irving, TX                      Addison/Bent Tree
Dallas-Plano-Irving, TX                      Allen/McKinney
Dallas-Plano-Irving, TX                      Carrollton/Farmers Branch
Dallas-Plano-Irving, TX                      East Dallas
Dallas-Plano-Irving, TX                      Frisco
Dallas-Plano-Irving, TX                      Grand Prairie
Dallas-Plano-Irving, TX                      Intown Dallas
Dallas-Plano-Irving, TX                      Las Colinas/Coppell
Dallas-Plano-Irving, TX                      North Irving
Dallas-Plano-Irving, TX                      Oak Lawn/Park Cities
Dallas-Plano-Irving, TX                      Richardson
Dallas-Plano-Irving, TX                      Rockwall/Rowlett/Wylie
Dallas-Plano-Irving, TX                      The Colony/Far North Carrollton
Dallas-Plano-Irving, TX                      West Plano
Denver-Aurora-Lakewood, CO                   Broomfield
Denver-Aurora-Lakewood, CO                   Highlands Ranch
Denver-Aurora-Lakewood, CO                   Littleton
Denver-Aurora-Lakewood, CO                   North Aurora
                                             Southeast Aurora/East Arapahoe
Denver-Aurora-Lakewood, CO
                                             County
Denver-Aurora-Lakewood, CO                   Tech Center
Denver-Aurora-Lakewood, CO                   Westminster
Fort Lauderdale-Pompano Beach-Deerfield
                                             Plantation/Davie/Weston
Beach, FL
Fort Worth-Arlington, TX                     Grapevine/Southlake
                                             Northeast Fort Worth/North
Fort Worth-Arlington, TX
                                             Richland Hills
Houston-The Woodlands-Sugar Land, TX         Bear Creek
Houston-The Woodlands-Sugar Land, TX         Downtown/Montrose/River Oaks
Houston-The Woodlands-Sugar Land, TX         Far West Houston
Houston-The Woodlands-Sugar Land, TX         Friendswood/Pearland
Houston-The Woodlands-Sugar Land, TX         Galleria/Uptown
                                             Greater Heights/Washington
Houston-The Woodlands-Sugar Land, TX
                                             Avenue
Houston-The Woodlands-Sugar Land, TX         Greenway/Upper Kirby


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                     Area                                 Submarket
Houston-The Woodlands-Sugar Land, TX          Katy
Houston-The Woodlands-Sugar Land, TX          Memorial
Houston-The Woodlands-Sugar Land, TX          Sugar Land/Stafford
Houston-The Woodlands-Sugar Land, TX          The Woodlands
                                              West University/Medical
Houston-The Woodlands-Sugar Land, TX
                                              Center/Third Ward
Jacksonville, FL                              Baymeadows
Jacksonville, FL                              Upper Southside
                                              Lee's Summit/Blue
Kansas City, MO-KS
                                              Springs/Raytown
Lansing-East Lansing, MI                      East Lansing
Las Vegas-Henderson-Paradise, NV              Henderson
Las Vegas-Henderson-Paradise, NV              Northwest Las Vegas
Las Vegas-Henderson-Paradise, NV              Summerlin/The Lakes
Memphis, TN-MS-AR                             Cordova/Bartlett
Memphis, TN-MS-AR                             Germantown/Collierville
Mobile/Daphne, AL                             North Mobile
Nashville-Davidson--Murfreesboro--Franklin,
                                              Central Nashville
TN
Nashville-Davidson--Murfreesboro--Franklin,
                                              South Nashville
TN
Nashville-Davidson--Murfreesboro--Franklin,
                                              West Nashville
TN
Orlando-Kissimmee-Sanford, FL                 Casselberry/Winter Springs/Oviedo
Orlando-Kissimmee-Sanford, FL                 Central Orlando
Orlando-Kissimmee-Sanford, FL                 East Orange County
Orlando-Kissimmee-Sanford, FL                 East Orlando
Orlando-Kissimmee-Sanford, FL                 Sanford/Lake Mary
Orlando-Kissimmee-Sanford, FL                 South Orange County
Orlando-Kissimmee-Sanford, FL                 Southwest Orlando
Orlando-Kissimmee-Sanford, FL                 Winter Park/Maitland
Phoenix-Mesa-Scottsdale, AZ                   Chandler
Phoenix-Mesa-Scottsdale, AZ                   Deer Valley
Phoenix-Mesa-Scottsdale, AZ                   North Glendale
Phoenix-Mesa-Scottsdale, AZ                   South Phoenix
Portland-Vancouver-Hillsboro, OR-WA           Aloha/West Beaverton
Portland-Vancouver-Hillsboro, OR-WA           Central Portland
Raleigh/Durham, NC                            Central Raleigh
Raleigh/Durham, NC                            Chapel Hill/Carrboro


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                   Area                                  Submarket
Raleigh/Durham, NC                           Far North Raleigh
Raleigh/Durham, NC                           Near North Raleigh
Raleigh/Durham, NC                           North Cary/Morrisville
Raleigh/Durham, NC                           Northeast Raleigh
Raleigh/Durham, NC                           Northwest Durham/Downtown
Raleigh/Durham, NC                           Northwest Raleigh
Raleigh/Durham, NC                           South Cary/Apex
Raleigh/Durham, NC                           Southwest Durham
Reno, NV                                     South Reno
Richmond, VA                                 Northwest Richmond
Richmond, VA                                 Tuckahoe/Westhampton
Riverside-San Bernardino-Ontario, CA         Rancho Cucamonga/Upland
Riverside-San Bernardino-Ontario, CA         Temecula/Murrieta
Salt Lake City/Ogden/Clearfield, UT          Southwest Salt Lake City
San Antonio-New Braunfels, TX                Far North Central San Antonio
San Antonio-New Braunfels, TX                Far Northwest San Antonio
San Antonio-New Braunfels, TX                North Central San Antonio
San Antonio-New Braunfels, TX                Northwest San Antonio
San Diego-Carlsbad, CA                       Northeast San Diego
Seattle-Bellevue-Everett, WA                 Redmond
Seattle-Bellevue-Everett, WA                 Renton
Tampa-St. Petersburg-Clearwater, FL          Carrollwood/Citrus Park
Tampa-St. Petersburg-Clearwater, FL          Central Tampa
Tampa-St. Petersburg-Clearwater, FL          Town and Country/Westchase
Tucson, AZ                                   Casas Adobes/Oro Valley
Tucson, AZ                                   Catalina Foothills
Washington-Arlington-Alexandria, DC-VA-MD-
                                             Germantown
WV
Washington-Arlington-Alexandria, DC-VA-MD-
                                             Loudoun County
WV
Washington-Arlington-Alexandria, DC-VA-MD-
                                             Navy Yard/Capitol South
WV
Washington-Arlington-Alexandria, DC-VA-MD-
                                             Reston/Herndon
WV
Washington-Arlington-Alexandria, DC-VA-MD-
                                             West Alexandria
WV
Washington-Arlington-Alexandria, DC-VA-MD-
                                             West Fairfax County
WV



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           APPENDIX B: SUBMARKETS BY BEDROOM COUNT

                                                                          No. of
                   Area                             Submarket
                                                                         Bedrooms
Anaheim-Santa Ana-Irvine, CA                 South Orange County             1
Atlanta-Sandy Springs-Roswell, GA            Alpharetta/Cumming              1
Atlanta-Sandy Springs-Roswell, GA            Briarcliff                      1
Atlanta-Sandy Springs-Roswell, GA            Buckhead                        1
Atlanta-Sandy Springs-Roswell, GA            Chamblee/Brookhaven             1
Atlanta-Sandy Springs-Roswell, GA            Duluth                          1
Atlanta-Sandy Springs-Roswell, GA            Dunwoody                        1
Atlanta-Sandy Springs-Roswell, GA            Kennesaw/Acworth                1
Atlanta-Sandy Springs-Roswell, GA            Midtown Atlanta                 1
Atlanta-Sandy Springs-Roswell, GA            Norcross                        1
                                             Northeast
Atlanta-Sandy Springs-Roswell, GA                                           1
                                             Cobb/Woodstock
Atlanta-Sandy Springs-Roswell, GA            Roswell                        1
Atlanta-Sandy Springs-Roswell, GA            Sandy Springs                  1
Atlanta-Sandy Springs-Roswell, GA            Smyrna                         1
                                             Southeast Gwinnett
Atlanta-Sandy Springs-Roswell, GA                                           1
                                             County
Atlanta-Sandy Springs-Roswell, GA            Southeast Marietta             1
Atlanta-Sandy Springs-Roswell, GA            Southwest Atlanta              1
Atlanta-Sandy Springs-Roswell, GA            Vinings                        1
Austin-Round Rock, TX                        Arboretum                      1
Austin-Round Rock, TX                        Cedar Park                     1
Austin-Round Rock, TX                        Far South Austin               1
Austin-Round Rock, TX                        Far West Austin                1
Austin-Round Rock, TX                        Near North Austin              1
Austin-Round Rock, TX                        Northwest Austin               1
Austin-Round Rock, TX                        Pflugerville/Wells Branch      1
Austin-Round Rock, TX                        South Austin                   1
Austin-Round Rock, TX                        Southwest Austin               1
Baltimore-Columbia-Towson, MD                Columbia/North Laurel          1
Birmingham-Hoover, AL                        Southeast Birmingham           1
Boston-Cambridge-Newton, MA-NH               West Norfolk County            1
                                             Downtown/Mount
Charleston-North Charleston, SC                                             1
                                             Pleasant/Islands
Charleston-North Charleston, SC              West Ashley                    1
Charlotte-Concord-Gastonia, NC-SC            Ballantyne                     1
Charlotte-Concord-Gastonia, NC-SC            Huntersville/Cornelius         1

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                                                                        No. of
                   Area                             Submarket
                                                                       Bedrooms
Charlotte-Concord-Gastonia, NC-SC            Myers Park                    1
Charlotte-Concord-Gastonia, NC-SC            South Charlotte               1
Charlotte-Concord-Gastonia, NC-SC            UNC Charlotte                 1
Charlotte-Concord-Gastonia, NC-SC            Uptown/South End              1
Colorado Springs, CO                         North Colorado Springs        1
Dallas-Plano-Irving, TX                      Addison/Bent Tree             1
Dallas-Plano-Irving, TX                      Allen/McKinney                1
Dallas-Plano-Irving, TX                      Carrollton/Farmers Branch     1
Dallas-Plano-Irving, TX                      East Dallas                   1
Dallas-Plano-Irving, TX                      Frisco                        1
Dallas-Plano-Irving, TX                      Grand Prairie                 1
Dallas-Plano-Irving, TX                      Intown Dallas                 1
Dallas-Plano-Irving, TX                      Las Colinas/Coppell           1
Dallas-Plano-Irving, TX                      North Irving                  1
Dallas-Plano-Irving, TX                      Oak Lawn/Park Cities          1
Dallas-Plano-Irving, TX                      Richardson                    1
Dallas-Plano-Irving, TX                      Rockwall/Rowlett/Wylie        1
                                             The Colony/Far North
Dallas-Plano-Irving, TX                                                    1
                                             Carrollton
Dallas-Plano-Irving, TX                      West Plano                    1
Denver-Aurora-Lakewood, CO                   Broomfield                    1
Denver-Aurora-Lakewood, CO                   Highlands Ranch               1
Denver-Aurora-Lakewood, CO                   Littleton                     1
                                             Southeast Aurora/East
Denver-Aurora-Lakewood, CO                                                 1
                                             Arapahoe County
Denver-Aurora-Lakewood, CO                   Tech Center                   1
Denver-Aurora-Lakewood, CO                   Westminster                   1
Fort Lauderdale-Pompano Beach-Deerfield
                                             Plantation/Davie/Weston        1
Beach, FL
Fort Worth-Arlington, TX                     Grapevine/Southlake            1
                                             Northeast Fort
Fort Worth-Arlington, TX                     Worth/North Richland           1
                                             Hills
                                             Southeast
Hartford-West Hartford-East Hartford, CT     Hartford/Middlesex             1
                                             County
Houston-The Woodlands-Sugar Land, TX         Bear Creek                     1




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                                                                       No. of
                   Area                           Submarket
                                                                      Bedrooms
                                           Downtown/Montrose/Rive
Houston-The Woodlands-Sugar Land, TX                                      1
                                           r Oaks
Houston-The Woodlands-Sugar Land, TX       Far West Houston               1
Houston-The Woodlands-Sugar Land, TX       Friendswood/Pearland           1
Houston-The Woodlands-Sugar Land, TX       Galleria/Uptown                1
                                           Greater
Houston-The Woodlands-Sugar Land, TX       Heights/Washington             1
                                           Avenue
Houston-The Woodlands-Sugar Land, TX       Greenway/Upper Kirby           1
Houston-The Woodlands-Sugar Land, TX       Katy                           1
Houston-The Woodlands-Sugar Land, TX       Memorial                       1
Houston-The Woodlands-Sugar Land, TX       Sugar Land/Stafford            1
Houston-The Woodlands-Sugar Land, TX       The Woodlands                  1
                                           West University/Medical
Houston-The Woodlands-Sugar Land, TX                                      1
                                           Center/Third Ward
Jacksonville, FL                           Baymeadows                     1
Jacksonville, FL                           Upper Southside                1
                                           Lee's Summit/Blue
Kansas City, MO-KS                                                        1
                                           Springs/Raytown
Las Vegas-Henderson-Paradise, NV           Henderson                      1
Las Vegas-Henderson-Paradise, NV           Northwest Las Vegas            1
Las Vegas-Henderson-Paradise, NV           Summerlin/The Lakes            1
Memphis, TN-MS-AR                          Cordova/Bartlett               1
Memphis, TN-MS-AR                          Germantown/Collierville        1
Mobile/Daphne, AL                          North Mobile                   1
Nashville-Davidson--Murfreesboro--
                                           Central Nashville              1
Franklin, TN
Nashville-Davidson--Murfreesboro--
                                           South Nashville                1
Franklin, TN
Nashville-Davidson--Murfreesboro--
                                           West Nashville                 1
Franklin, TN
                                           Casselberry/Winter
Orlando-Kissimmee-Sanford, FL                                             1
                                           Springs/Oviedo
Orlando-Kissimmee-Sanford, FL              Central Orlando                1
Orlando-Kissimmee-Sanford, FL              East Orange County             1
Orlando-Kissimmee-Sanford, FL              East Orlando                   1
Orlando-Kissimmee-Sanford, FL              Sanford/Lake Mary              1
Orlando-Kissimmee-Sanford, FL              South Orange County            1


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                                                                          No. of
                   Area                             Submarket
                                                                         Bedrooms
Orlando-Kissimmee-Sanford, FL                Southwest Orlando               1
Orlando-Kissimmee-Sanford, FL                Winter Park/Maitland            1
Phoenix-Mesa-Scottsdale, AZ                  Chandler                        1
Phoenix-Mesa-Scottsdale, AZ                  Deer Valley                     1
Phoenix-Mesa-Scottsdale, AZ                  North Glendale                  1
Phoenix-Mesa-Scottsdale, AZ                  South Phoenix                   1
Portland-Vancouver-Hillsboro, OR-WA          Aloha/West Beaverton            1
Portland-Vancouver-Hillsboro, OR-WA          Central Portland                1
Raleigh/Durham, NC                           Central Raleigh                 1
Raleigh/Durham, NC                           Chapel Hill/Carrboro            1
Raleigh/Durham, NC                           Far North Raleigh               1
Raleigh/Durham, NC                           Near North Raleigh              1
Raleigh/Durham, NC                           North Cary/Morrisville          1
Raleigh/Durham, NC                           Northeast Raleigh               1
                                             Northwest
Raleigh/Durham, NC                                                          1
                                             Durham/Downtown
Raleigh/Durham, NC                           Northwest Raleigh              1
Raleigh/Durham, NC                           South Cary/Apex                1
Raleigh/Durham, NC                           Southwest Durham               1
Reno, NV                                     South Reno                     1
Richmond, VA                                 Northwest Richmond             1
Richmond, VA                                 Tuckahoe/Westhampton           1
                                             Rancho
Riverside-San Bernardino-Ontario, CA                                        1
                                             Cucamonga/Upland
Riverside-San Bernardino-Ontario, CA         Temecula/Murrieta              1
Salt Lake City/Ogden/Clearfield, UT          Southwest Salt Lake City       1
                                             Far North Central San
San Antonio-New Braunfels, TX                                               1
                                             Antonio
                                             Far Northwest San
San Antonio-New Braunfels, TX                                               1
                                             Antonio
San Antonio-New Braunfels, TX                North Central San Antonio      1
San Antonio-New Braunfels, TX                Northwest San Antonio          1
San Diego-Carlsbad, CA                       Northeast San Diego            1
Seattle-Bellevue-Everett, WA                 Redmond                        1
Tampa-St. Petersburg-Clearwater, FL          Carrollwood/Citrus Park        1
Tampa-St. Petersburg-Clearwater, FL          Central Tampa                  1
                                             Town and
Tampa-St. Petersburg-Clearwater, FL                                         1
                                             Country/Westchase


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                                                                         No. of
                  Area                            Submarket
                                                                        Bedrooms
Tucson, AZ                                 Casas Adobes/Oro Valley          1
Tucson, AZ                                 Catalina Foothills               1
Washington-Arlington-Alexandria, DC-VA-
                                           Germantown                       1
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                           Loudoun County                   1
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                           Navy Yard/Capitol South          1
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                           Reston/Herndon                   1
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                           West Alexandria                  1
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                           West Fairfax County              1
MD-WV
Anaheim-Santa Ana-Irvine, CA               South Orange County              2
Atlanta-Sandy Springs-Roswell, GA          Alpharetta/Cumming               2
Atlanta-Sandy Springs-Roswell, GA          Briarcliff                       2
Atlanta-Sandy Springs-Roswell, GA          Buckhead                         2
Atlanta-Sandy Springs-Roswell, GA          Chamblee/Brookhaven              2
Atlanta-Sandy Springs-Roswell, GA          Duluth                           2
Atlanta-Sandy Springs-Roswell, GA          Dunwoody                         2
Atlanta-Sandy Springs-Roswell, GA          Kennesaw/Acworth                 2
Atlanta-Sandy Springs-Roswell, GA          Midtown Atlanta                  2
Atlanta-Sandy Springs-Roswell, GA          Norcross                         2
                                           Northeast
Atlanta-Sandy Springs-Roswell, GA                                           2
                                           Cobb/Woodstock
Atlanta-Sandy Springs-Roswell, GA          Roswell                          2
Atlanta-Sandy Springs-Roswell, GA          Sandy Springs                    2
Atlanta-Sandy Springs-Roswell, GA          Smyrna                           2
                                           Southeast Gwinnett
Atlanta-Sandy Springs-Roswell, GA                                           2
                                           County
Atlanta-Sandy Springs-Roswell, GA          Southeast Marietta               2
Atlanta-Sandy Springs-Roswell, GA          Southwest Atlanta                2
Atlanta-Sandy Springs-Roswell, GA          Vinings                          2
Austin-Round Rock, TX                      Arboretum                        2
Austin-Round Rock, TX                      Cedar Park                       2
Austin-Round Rock, TX                      Far South Austin                 2
Austin-Round Rock, TX                      Far West Austin                  2


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                                                                          No. of
                   Area                             Submarket
                                                                         Bedrooms
Austin-Round Rock, TX                        Near North Austin               2
Austin-Round Rock, TX                        Northwest Austin                2
Austin-Round Rock, TX                        Pflugerville/Wells Branch       2
Austin-Round Rock, TX                        South Austin                    2
Austin-Round Rock, TX                        Southwest Austin                2
Baltimore-Columbia-Towson, MD                Columbia/North Laurel           2
Birmingham-Hoover, AL                        Southeast Birmingham            2
                                             Downtown/Mount
Charleston-North Charleston, SC                                             2
                                             Pleasant/Islands
Charleston-North Charleston, SC              West Ashley                    2
Charlotte-Concord-Gastonia, NC-SC            Ballantyne                     2
Charlotte-Concord-Gastonia, NC-SC            Huntersville/Cornelius         2
Charlotte-Concord-Gastonia, NC-SC            Myers Park                     2
Charlotte-Concord-Gastonia, NC-SC            South Charlotte                2
Charlotte-Concord-Gastonia, NC-SC            UNC Charlotte                  2
Charlotte-Concord-Gastonia, NC-SC            Uptown/South End               2
Colorado Springs, CO                         North Colorado Springs         2
                                             Gahanna/Northeast
Columbus, OH                                                                2
                                             Columbus
Dallas-Plano-Irving, TX                      Addison/Bent Tree              2
Dallas-Plano-Irving, TX                      Allen/McKinney                 2
Dallas-Plano-Irving, TX                      Carrollton/Farmers Branch      2
Dallas-Plano-Irving, TX                      East Dallas                    2
Dallas-Plano-Irving, TX                      Frisco                         2
Dallas-Plano-Irving, TX                      Grand Prairie                  2
Dallas-Plano-Irving, TX                      Intown Dallas                  2
Dallas-Plano-Irving, TX                      Las Colinas/Coppell            2
Dallas-Plano-Irving, TX                      North Irving                   2
Dallas-Plano-Irving, TX                      Oak Lawn/Park Cities           2
Dallas-Plano-Irving, TX                      Richardson                     2
Dallas-Plano-Irving, TX                      Rockwall/Rowlett/Wylie         2
                                             The Colony/Far North
Dallas-Plano-Irving, TX                                                     2
                                             Carrollton
Dallas-Plano-Irving, TX                      West Plano                     2
Denver-Aurora-Lakewood, CO                   Broomfield                     2
Denver-Aurora-Lakewood, CO                   Highlands Ranch                2
Denver-Aurora-Lakewood, CO                   Littleton                      2
Denver-Aurora-Lakewood, CO                   North Aurora                   2


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                                                                         No. of
                   Area                             Submarket
                                                                        Bedrooms
                                             Southeast Aurora/East
Denver-Aurora-Lakewood, CO                                                  2
                                             Arapahoe County
Denver-Aurora-Lakewood, CO                   Tech Center                    2
Denver-Aurora-Lakewood, CO                   Westminster                    2
Fort Lauderdale-Pompano Beach-Deerfield
                                             Plantation/Davie/Weston        2
Beach, FL
Fort Worth-Arlington, TX                     Grapevine/Southlake            2
                                             Northeast Fort
Fort Worth-Arlington, TX                     Worth/North Richland           2
                                             Hills
                                             Southeast
Hartford-West Hartford-East Hartford, CT     Hartford/Middlesex             2
                                             County
Houston-The Woodlands-Sugar Land, TX         Bear Creek                     2
                                             Downtown/Montrose/Rive
Houston-The Woodlands-Sugar Land, TX                                        2
                                             r Oaks
Houston-The Woodlands-Sugar Land, TX         Far West Houston               2
Houston-The Woodlands-Sugar Land, TX         Friendswood/Pearland           2
Houston-The Woodlands-Sugar Land, TX         Galleria/Uptown                2
                                             Greater
Houston-The Woodlands-Sugar Land, TX         Heights/Washington             2
                                             Avenue
Houston-The Woodlands-Sugar Land, TX         Greenway/Upper Kirby           2
Houston-The Woodlands-Sugar Land, TX         Memorial                       2
Houston-The Woodlands-Sugar Land, TX         Sugar Land/Stafford            2
Houston-The Woodlands-Sugar Land, TX         The Woodlands                  2
                                             West University/Medical
Houston-The Woodlands-Sugar Land, TX                                        2
                                             Center/Third Ward
Jacksonville, FL                             Baymeadows                     2
Jacksonville, FL                             Upper Southside                2
                                             Lee's Summit/Blue
Kansas City, MO-KS                                                          2
                                             Springs/Raytown
Lansing-East Lansing, MI                     East Lansing                   2
Las Vegas-Henderson-Paradise, NV             Henderson                      2
Las Vegas-Henderson-Paradise, NV             Northwest Las Vegas            2
Las Vegas-Henderson-Paradise, NV             Summerlin/The Lakes            2
Memphis, TN-MS-AR                            Cordova/Bartlett               2
Memphis, TN-MS-AR                            Germantown/Collierville        2
Mobile/Daphne, AL                            North Mobile                   2

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                                                                         No. of
                  Area                              Submarket
                                                                        Bedrooms
Nashville-Davidson--Murfreesboro--
                                             Central Nashville              2
Franklin, TN
Nashville-Davidson--Murfreesboro--
                                             South Nashville                2
Franklin, TN
                                             Casselberry/Winter
Orlando-Kissimmee-Sanford, FL                                               2
                                             Springs/Oviedo
Orlando-Kissimmee-Sanford, FL                Central Orlando                2
Orlando-Kissimmee-Sanford, FL                East Orange County             2
Orlando-Kissimmee-Sanford, FL                East Orlando                   2
Orlando-Kissimmee-Sanford, FL                Sanford/Lake Mary              2
Orlando-Kissimmee-Sanford, FL                South Orange County            2
Orlando-Kissimmee-Sanford, FL                Southwest Orlando              2
Orlando-Kissimmee-Sanford, FL                Winter Park/Maitland           2
Phoenix-Mesa-Scottsdale, AZ                  Chandler                       2
Phoenix-Mesa-Scottsdale, AZ                  Deer Valley                    2
Phoenix-Mesa-Scottsdale, AZ                  North Glendale                 2
Phoenix-Mesa-Scottsdale, AZ                  South Phoenix                  2
Portland-Vancouver-Hillsboro, OR-WA          Aloha/West Beaverton           2
Portland-Vancouver-Hillsboro, OR-WA          Central Portland               2
Raleigh/Durham, NC                           Central Raleigh                2
Raleigh/Durham, NC                           Chapel Hill/Carrboro           2
Raleigh/Durham, NC                           Far North Raleigh              2
Raleigh/Durham, NC                           Near North Raleigh             2
Raleigh/Durham, NC                           North Cary/Morrisville         2
Raleigh/Durham, NC                           Northeast Raleigh              2
Raleigh/Durham, NC                           Northwest Raleigh              2
Raleigh/Durham, NC                           South Cary/Apex                2
Raleigh/Durham, NC                           Southwest Durham               2
Reno, NV                                     South Reno                     2
Richmond, VA                                 Northwest Richmond             2
Richmond, VA                                 Tuckahoe/Westhampton           2
                                             Rancho
Riverside-San Bernardino-Ontario, CA                                        2
                                             Cucamonga/Upland
Riverside-San Bernardino-Ontario, CA         Temecula/Murrieta              2
Salt Lake City/Ogden/Clearfield, UT          Southwest Salt Lake City       2
                                             Far North Central San
San Antonio-New Braunfels, TX                                               2
                                             Antonio



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                                                                          No. of
                   Area                            Submarket
                                                                         Bedrooms
                                            Far Northwest San
San Antonio-New Braunfels, TX                                                2
                                            Antonio
San Antonio-New Braunfels, TX               North Central San Antonio        2
San Antonio-New Braunfels, TX               Northwest San Antonio            2
San Diego-Carlsbad, CA                      Northeast San Diego              2
Seattle-Bellevue-Everett, WA                Renton                           2
Tampa-St. Petersburg-Clearwater, FL         Carrollwood/Citrus Park          2
Tampa-St. Petersburg-Clearwater, FL         Central Tampa                    2
                                            Town and
Tampa-St. Petersburg-Clearwater, FL                                          2
                                            Country/Westchase
Tucson, AZ                                  Casas Adobes/Oro Valley          2
Tucson, AZ                                  Catalina Foothills               2
Washington-Arlington-Alexandria, DC-VA-
                                            Germantown                       2
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                            Loudoun County                   2
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                            Navy Yard/Capitol South          2
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                            Reston/Herndon                   2
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                            West Alexandria                  2
MD-WV
Washington-Arlington-Alexandria, DC-VA-
                                            West Fairfax County              2
MD-WV




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